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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


BRIAN KAREM,


               Plaintiff,

     v.
                                                           Case No.: 19-cv-2514 (KBJ)
DONALD J. TRUMP, in his individual capacity and
official capacity as President of the United States; and
STEPHANIE GRISHAM, in her individual capacity
and official capacity as White House Press Secretary,

               Defendants.



    REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      PLAINTIFF’S MOTIONS FOR A TEMPORARY RESTRAINING ORDER
                    AND PRELIMINARY INJUNCTION
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                                 PRELIMINARY STATEMENT

       Defendants Donald J. Trump and Stephanie Grisham offer no viable reason why Plaintiff

Brian Karem’s hard pass must be suspended while his constitutional claims are adjudicated.

They do not claim that Mr. Karem, an award-winning reporter who has covered the White House

for decades, presents a security risk. Nor do they claim that their stated goals of “punishing” and

“deterring” Mr. Karem based on events that occurred after the July 11 press event in the Rose

Garden require that the suspension go into immediate effect. In contrast, the injury to Mr.

Karem—including the violation of his First and Fifth Amendment rights, the deprivation of his

constitutionally protected interest in his hard pass, as well as the undeniable harm to his career—

would be severe, immediate, and irreparable. Especially because the denial of a TRO will risk

mooting this dispute before Mr. Karem’s claims can be decided on the merits, this Court should

preserve the status quo by granting injunctive relief.

       The D.C. Circuit held in Sherrill v. Knight that the suspension of a hard pass must be

based upon meaningful, published, and explicit standards. 569 F.2d 124 (1977). In response,

Defendants—as they did in CNN correspondent Jim Acosta’s case—misstate Sherrill and the

law, asking this Court to ignore the case’s plain text, which is in turn grounded in clearly

established constitutional law. The vague, ad hoc, and unwritten standards Ms. Grisham

manufactured and retrospectively applied here—asserting that Mr. Karem breached norms of

“decorum” and “professionalism”—blatantly violate Sherrill. Just as Judge Kelly held in

rejecting the Administration’s attempt to suspend the hard pass of Mr. Acosta, Sherrill governs

this situation, and requires fair notice based on clear and explicit standards, a fair process, and an

impartial decisionmaker—none of which was provided here.

       Instead, as Defendants’ brief makes clear, their “process” consisted of Ms. Grisham

watching YouTube videos of the events in the Rose Garden, obtaining a statement from a Secret


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Service agent that she heavily relies on but refuses to share with Mr. Karem, and then purporting

to “adjudicate” her own skewed interpretation of those events based on her own

“understandings” of “decorum.” This does not come close to the due process Sherrill

commands. And Defendants even reject the suggestion that they were required to follow the

regulations the White House enacted to ensure due process in response to Sherrill. See 31 C.F.R.

§§ 409.1, 409.2. These regulations not only provide more robust procedural protections, but

make clear that a hard pass suspension is warranted only in cases where the Secret Service deems

it necessary to ensure the safety of the President and his family.

         Defendants are oblivious to the immense irony and conflict between their punishing Mr.

Karem for a breach of “decorum” for allegedly “insulting” guests at a press event, while at the

same time endorsing acts of violence against reporters and condemning the media as “the enemy

of the people.” Given their own past statements and actions, Defendants cannot credibly claim

that they are sincerely intending to police norms of etiquette and good behavior, rather than

inflict punishment aimed at scoring political points and sending a message to reporters whose

coverage they dislike to deter them from doing their jobs. Indeed, Defendant Grisham has tried

this exact tactic before, attempting to punish a reporter for unfavorable coverage by suspending

his press credentials. See Ex. F. 1

         It is also telling that Ms. Grisham declined to put into the record a declaration testifying

under penalty of perjury to her account of her process or the underlying reasons for her decision.

Further illuminating: Defendants failed to provide any sworn statement corroborating Ms.

Grisham’s narrative or to grapple with any of the firsthand, eye-witness accounts Plaintiff



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     Citations to “Ex. __” using a letter are exhibits to the Declaration of Theodore J. Boutrous, dated August 26,
     2019. Citations to “Ex. __” using a number are exhibits to the Declaration of Theodore J. Boutrous dated
     August 20, 2019.

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introduced into the record. Defendants’ unsworn and unauthenticated account of the events

surrounding Mr. Gorka’s confrontation of Mr. Karem is wholly one-sided and unsupported by

any fair-minded assessment of the evidence. See, e.g., Karem Decl.; Feinberg Decl.; Pavlovic

Decl. Defendants do not provide (and cannot provide) any evidence to rebut this testimony or

anything to support their slanted narration of what occurred on July 11.

        Defendants’ brief reflects their basic misunderstanding about the role a free press plays in

our nation’s system of government. The press is a watchdog on the White House and “serves

and was designed to serve as a powerful antidote to any abuses of power by governmental

officials and as a constitutionally chosen means for keeping officials elected by the people

responsible to all the people whom they were selected to serve.” Mills v. Alabama, 384 U.S.

214, 219 (1966). When the government can invoke unpublished, subjective, and amorphous

“understandings” to single out and punish reporters for breaches of “decorum” and other

pretextual reasons, it ultimately harms the public by chilling the ability of the free press to act as

a check on the government. While politicians and their advisors may deem attacking reporters to

be in their personal political interest, the judiciary plays a critical role in ensuring due process,

enforcing the First Amendment, and protecting the ability of the free press “to fulfill its essential

role in our democracy.” New York Times Co. v. United States, 403 U.S. 713, 717 (1971) (Black,

J., concurring).

        In light of the importance and magnitude of the constitutional questions presented, and

Defendants’ failure to show any reason why the suspension must be immediately enforced, this

Court should maintain the status quo by issuing a TRO and preliminary injunction to allow this

case to be decided on the merits.




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                                           ARGUMENT

I. Mr. Karem Is Likely To Succeed On The Merits.

       A. Sherrill Controls This Case, But Defendants Fail To Show They Provided The
       “Explicit And Meaningful” Published Standards Sherrill Requires.

       Defendants admit that their suspension of Mr. Karem’s hard pass was not based on any

“publish[ed]” standards, let alone published standards that are “explicit and meaningful.”

Sherrill, 569 F.2d at 131. That admission establishes that the suspension cannot stand under

controlling D.C. Circuit authority.

       Because Sherrill is directly on point and is devastating to their position, Defendants strive

mightily to reframe the D.C. Circuit’s holding. They insist that all Sherrill requires is notice, an

opportunity to be heard, and a written statement of decision. Opp. 1-2. Defendants are wrong:

Sherrill requires all of those things, but it also requires that the denial or suspension of a hard

pass be based on concrete published standards. See 569 F.2d at 131. That ensures reporters have

fair notice of the conduct that may subject them to punishment and the severity of punishment

that may be imposed for such conduct, and reduces the likelihood of a reporter losing his or her

hard pass for arbitrary or pretextual reasons. Indeed, it was this aspect of Sherrill’s holding—the

need for published standards—that led the White House to adopt the regulations Defendants

ignored in this case. See 31 C.F.R. § 409.1.

       Defendants note that they issued a letter to CNN’s Jim Acosta that purported to articulate

various standards of conduct. See Ex. 2 to Opp. Br. Not only was this letter issued to a single

reporter and never provided to Mr. Karem, Karem Reply Decl. ¶ 1, but Defendants concede that

these standards applied only to press conferences—and do not apply to “press events,” such as

the Rose Garden press event at issue here. Ex. 4 at 2. In fact, by expressly limiting the scope of




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the Acosta letter to press conferences, the White House made clear that its decision that these

standards would not govern press events was a deliberate choice.

        Because Defendants cannot point to any published rules, they instead rely on what Ms.

Grisham calls unwritten “understandings” of the White House press corps. But even if this were

permissible under Sherrill—which it plainly is not—Defendants have failed to prove any of

these so-called “understandings” actually exist. They provide no declaration or other evidence

supporting their existence. Their only “evidence” establishing these understandings is the

unsworn ipse dixit of Ms. Grisham, who has no experience as a journalist, joined the White

House press office approximately two months ago, has never held a press briefing, and offers no

explanation as to how she went about divining the existence of these historic understandings

before invoking them as the basis for suspending Mr. Karem’s hard pass.

        “[E]lementary notions of fairness enshrined in our constitutional jurisprudence dictate that a

person receive fair notice not only of the conduct that will subject him to punishment, but also of the

severity of the penalty that a State may impose.” BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 574

(1996); see Opening Br. at 24-29 (collecting cases). And particularly when protected First

Amendment activity is at issue, “rigorous adherence to these requirements is necessary to ensure that

ambiguity does not chill protected speech.” FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253-

54 (2012). Because Mr. Karem lacked any notice of the standards that Ms. Grisham would develop

and then rely on to impose retroactively what she expressly labeled “punishment,” the suspension

cannot stand.

        B. Defendants’ Brief Confirms The Unconstitutional Vagueness Of Their Newly-
        Minted “Professionalism” And “Decorum” Standards.

        Defendants make little effort to explain how their standards of “decorum” and

“professionalism” are not unconstitutionally vague as a basis for imposing “punishment,” Ex. 10


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at 8. Sherrill held that the “‘reasons of security’” standard the government cited in that case for

denying a hard pass “is unnecessarily vague and subject to ambiguous interpretation.” 569 F.2d

at 130. Defendants’ “decorum” and “professionalism” standards are even more general and

more vague than the standard rejected in Sherrill. Allowing reporters to be barred from the

White House based on what the Press Secretary deems after the fact a violation of “decorum”

would amount to “government by the moment-to-moment opinions of a policeman on his beat,”

and create an “ever-present potential for arbitrarily suppressing First Amendment liberties, . . .

bear[ing] the hallmark of a police state.” Shuttlesworth v. City of Birmingham, 382 U.S. 87, 90-

91 (1965).

       Defendants offer no insight into what these standards mean, or how they could be

construed in a way that would give reporters fair notice as to what conduct is prohibited. They

do not seek to define these terms or consider how they are generally understood. Instead,

Defendants contend that “professionalism” and “decorum” provide a constitutionally permissible

basis for punishment because Mr. Karem had “actual notice of the basic prohibition against

shouting at guests or starting fights in the White House.” Opp. at 1, 23.

       Defendants are wrong for many reasons. They never identify what gave Mr. Karem

“actual notice” that he was engaging in prohibited conduct, and they seriously mischaracterize

the conduct in question. Mr. Karem did not start a fight—indeed, there was no fight, because

Mr. Karem successfully de-escalated the situation rather than taking Mr. Gorka’s bait by

responding in kind to Mr. Gorka’s aggressive menacing and provocation. For these reasons,

Defendants fall short in attempting, in a footnote, to distinguish FCC v. Fox Television Stations,

Inc., 567 U.S. 239 (2012). Defendants argue that the regulated parties in that case lacked actual

notice that their conduct would later be deemed prohibited, but the same is true here—



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Defendants have never identified what put Mr. Karem on notice that the conduct in which he

actually engaged would be deemed a breach of decorum that could be punished by a 30-day

suspension of his hard pass. Moreover, in Fox, the statute itself used terms far more specific

than “decorum” and “professionalism”—“obscene, indecent or profane language”—but the

Court found that the law was unconstitutionally vague and failed to provide fair notice as applied

to “fleeting expletives and fleeting nudity.” Id. at 243, 249, 258. Ms. Grisham’s broad and

elastic “standards,” written down nowhere and announced and applied for the first time ever after

the fact, fare no better here.

        Defendants’ suggestion that “shouting” is a breach of decorum and professional norms

also belies a profound ignorance of the White House press beat. Ms. Grisham has only been on

the job for approximately two months, but the colorful history of White House-press relations

shows that the White House beat can be disorderly and even raucous at times. Reporters have

banged on doors, Karem Decl. ¶ 4, flung insults, and shouted at the very highest officials in our

nation. See Ex. E (noting that, after Karl Rove resigned, one White House correspondent yelled

“If he’s so smart, why did you lose Congress?”); see also Ex. B; Ex. D (“His aggressiveness

(read: bad behavior) made [Sam] Donaldson one of the first ‘star’ reporters at the White

House.”); Ex. C (1987 New York Times article noting that “[f]rustrated, reporters have become

increasingly forceful—to some, ill-mannered—in efforts to pry information out of the White

House. Whenever the President appears within shouting distance, he is now bombarded with

high-decibel inquiries.”); accord id. (Sam Donaldson noting “‘The reason we yell at Reagan in

the Rose Garden is that’s the only place we see him.’”); Ex. H (noting reporter who retorted that

President Nixon was “just misinformed” when Nixon stated that a particular “problem had been

addressed”); Ex. I (noting that President Obama was “interrupted by heckling from [a] reporter . .



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. mid-speech”); Ex. J (reflecting President Obama “scolding” a reporter for shouting a question at

a Rose Garden press conference); Ex. 9 (noting that “CBS White House Correspondent Bill

Plante once . . . nearly got into blows with a guest in the Rose Garden”). None of these reporters

lost their hard passes as a result of this conduct.

        Punishing a reporter for purportedly failing to show “decorum” is particularly disturbing

coming from an administration that is openly at war with the press and from a President who

encourages and displays a standard of conduct far more extreme than what Ms. Grisham

contends is prohibited here. A hallmark of the President’s freewheeling style is his biting,

personal attacks on individual reporters and the press generally—celebrating the body slam of a

reporter, mocking a reporter’s disability, and his daily attacks on the “fake” and “disgusting”

news media that he has branded “the enemy of the people.” See, e.g., Opening Br. 8-10; Ex. O;

Ex. N (Tweeting on Aug. 25 “‘Mr. President, why does the American media hate your Country

so much? Why are they rooting for it to fail?”). Defendants never explain why the President’s

own statements to and about the press do not establish a relevant guidepost for what the White

House considers an acceptable level of decorum, or how a reporter could be deemed on notice

that he could be punished for making statements that are far less threatening and offensive than

what the President says every day. 2




 2
     Indeed, the President and the White House Press Office have forced journalists into increasingly untenable
circumstances to do their jobs gathering and reporting information to the American people about the
Administration’s activities, by ending daily briefings in the White House briefing room, by eliminating formal press
conferences in the Rose Garden and in the East Room, by limiting the credentialed press to impromptu chaotic
gaggles as the President leaves to board Marine One, and, on July 11, by relegating the credentialed reporters to a
press pen in the back of the Rose Garden while conservative activists, seated up front where the credentialed
journalists normally would be, heckled and mocked the press during an important policy announcement. See Ex. K
(“[Reporters] believed the set-up on the lawn purposefully depicts media as unruly, unkempt and [un]professional . .
. . ‘There’s no question that it works to his advantage that we look unruly and disorderly,’ veteran New York Times
White House reporter Peter Baker told Politico. ‘It’s not like standing at a podium in the East Room or the briefing
room, where you can have a civilized calling on people who raise their hands.’”); Ex. G.

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       In imposing the suspension, Defendants relied not just on manufactured standards of

conduct, but also on a manufactured version of events that is not supported by a single

declaration. Among other notable misstatements and omissions are the following:

•   Defendants ignore completely that the instigators in the Rose Garden were Mr. Gorka and the
    other Social Media Summit guests, who, after having been riled up by the President’s
    campaign-style rally, proceeded to taunt and insult the White House press corps assembled in
    the Rose Garden for what they thought would be a press conference. Much of this conduct of
    the “Summit” guests preceded any of Mr. Karem’s statements, and Mr. Gorka’s charging
    across the Rose Garden shouting was an unreasonable and hostile reaction that Defendants
    barely mention. Karem Decl. ¶¶ 24, 26; Feinberg Decl. ¶¶ 7-10; Pavlovic Decl. ¶¶ 12, 13-19;
    Exs. 37, 70.

•   Defendants characterize Mr. Karem’s “demonic possession” quip as an “insult[]” and accuse
    him of “threatening to exacerbate a verbal confrontation to a physical one.” Opp. at 39.
    With respect to the former, the videos of the event demonstrate that Mr. Karem was joking—
    he delivered the line in a light-hearted tone and it was met with laughter. Ex. 63 at 0:08-
    0:10. And the uncontradicted declarations confirm this. Karem Decl. ¶ 27; Feinberg Decl.
    ¶¶ 8-10; Pavlovic Decl. ¶ 15. With respect to the latter, as the videos make clear, and as Mr.
    Karem repeatedly says in his declarations, he just wanted to talk to Mr. Gorka, not fight him.
    Mr. Gorka, on the other hand, as the videos leave no doubt, was looking to provoke and
    make a spectacle at every turn. See Ex. 70 (entering the Rose Garden saying “fake news
    panorama”); Ex. 63 at 0:22-0:25 (screaming in Mr. Karem’s face “You’re not a
    journalist! You’re a punk!”); Ex. 63 at 2:59-3:27 (shouting “You’re done!” as Mr. Karem
    sought to make peace).

•   Defendants ignore that Mr. Karem was engaging in protected speech: he was discussing and
    debating the meaning of journalism with the “Summit” attendees. When Mr. Gorka said
    “and you’re a ‘journalist,’ right?” with air quotes, Mr. Karem repeatedly expressed his desire
    to “talk” to Mr. Gorka, Ex. 63 at 0:09-0:25, and Mr. Karem subsequently engaged with
    conservative media figure James O’Keefe, who even stated “we’re both journalists,
    man.” Id. at 0:55-1:27. Similarly, Mr. Karem spoke with Ms. Villa about the nature of true
    journalism, including the need for fact checkers and to label clearly opinion pieces as
    such. Ex. 64 at 0:00-0:50.

•   Defendants state that Mr. Karem “left the designated press area” in the Rose Garden, Opp. at
    1, 8, when in fact he remained calmly in the press area, inadvertently crossing the rope line
    that had fallen down at his feet. Ex. 62 at 0:30-0:50.

•   Defendants note that “certain members of the crowd yelled or chanted,” while omitting the
    fact that the “invited guests,” not Mr. Karem, were the ones urging a fight, shouting out
    phrases like “Hit him, Gorka!” Karem Decl. ¶ 29; Ex. 60 at 0:30-0:38.

•   Defendants omit Mr. Karem’s words that were plainly intended to de-escalate the situation:
    “I’m not attacking anybody. I’m just asking questions.” Ex. 66 at 0:45-1:00.

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•       Defendants claim that “Mr. Karem ignored a White House staffer’s instructions that ‘the
        press are leaving now.’” Opp. at 8. But Mr. Karem “did not disobey any instruction from
        the White House staffer to leave the Palm Room.” Karem Supp. Decl. ¶ 4. Rather, Mr.
        Karem was, like the other members of the press, in the process of leaving—as the descriptive
        statement (“the press are leaving”) by the staffer suggests—when he paused on the way out
        to try to shake Gorka’s hand and make peace. Ex 63 at 2:59-3:28.

            Despite Ms. Grisham’s August 16 “final decision” letter being riddled with inaccuracies

regarding the events of July 11, Defendants cite it extensively as if it were a factual record of

what happened. The background section of their brief is essentially a copy-and-paste of the

letter. However, as Mr. Karem’s opening brief makes clear, that unsworn document is itself the

product of an unconstitutional process and is based on a one-sided, speculative analysis of the

videos by Ms. Grisham, a biased decisionmaker who was not present on July 11 and did not

witness the events in question. Because the government failed to submit actual evidence to this

Court, this Court should disregard Ms. Grisham’s story in its entirety. FTC v. World Patent

Mktg., Inc., 2017 WL 3508639, at *14 (S.D. Fla. Aug. 16, 2017) (granting preliminary injunction

where “[d]efendants fail[ed] to provide any evidence rebutting the statements contained in

[plaintiffs’] declarations. This Court will not blindly accept the contentions of counsel where

such contentions are not supported by any evidence in the record.” (emphasis in original)

(internal quotation marks omitted)). 3

            Defendants point to other regulatory schemes in which “decorum” is required, such as

local rules of court. But this only illustrates the key difference: Those rules provide notice

because—unlike Ms. Grisham’s unwritten understandings—they have been published.


    3
        See, e.g., CannaVest Corp. v. Kannaway, LLC, 2015 WL 12532472, at *3 (S.D. Cal. Feb. 27, 2015) (granting
        preliminary injunction against trademark use where “[d]efendants have not submitted any evidence showing
        that they have permission to use th[e] mark” and did “not produce[] a witness to authenticate the Purported
        License Agreement which is thus given no weight here.”); see also Franco v. Kluge, 2015 WL 1637688, at *7
        (W.D. Tex. Apr. 13, 2015) (“Although Plaintiff’s only evidence for her claim is her affidavit, Defendants have
        utterly failed to submit evidence contradicting the relevant allegations. Therefore, the allegations will be
        accepted as true for purposes of Defendants’ [summary judgment] [m]otion.”).

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Moreover, there is a fundamental difference between, on the one hand, a formal proceeding in a

courtroom, in which many different types of rules—procedural rules and evidentiary rules,

among others—govern the interactions between counsel and the court, and, on the other hand, a

freewheeling White House press event, in which reporters literally sometimes cannot be heard

unless they shout their questions. The Framers well understood that interactions between the

press and government officials would often be intense, contentious, and occasionally

disrespectful—and that this tension was not just expected but necessary to ensure citizens had the

information they needed to supervise and evaluate the performance of their elected officials. See

Alexander M. Bickel, The Morality of Consent 80-81 (1975) (likening the relationship between

press and government to a “contest” and “adversary game between press and government” and

noting that “[i]t is a disorderly situation surely”).

        Defendants’ analogy to contempt proceedings further undermines their own case.

Contempt requires the violation of a “clear” and existing judicial order—one that allows parties

subject to the order to “know what the court intends to require and what it means to forbid.” Int’l

Longshoremen’s Ass’n, Local 1291 v. Phila. Marine Trade Ass’n, 389 U.S. 64, 76 (1967); see

also Taggart v. Lorenzen, 139 S. Ct. 1795, 1802 (2019) (“[P]rinciples of ‘basic fairness requir[e]

that those enjoined receive explicit notice’ of ‘what conduct is outlawed’ before being held in

civil contempt” (citations omitted)); Joshi v. Prof’l Health Servs., Inc., 606 F. Supp. 302, 305-06

(D.D.C. 1985) (“A penalty may not be imposed for disobeying a command that exists only in

one’s wishful thinking.”); 18 U.S.C. § 401 (delineating authority to impose contempt order).

Defendants identify no instance in which an individual has been held in contempt in the absence




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of a court order specifying the prohibited conduct, nor do they explain by what grant of authority

Ms. Grisham obtained “contempt” power over the White House press corps. 4

         None of the cases Defendants cite supports the sanction here. In Norse v. City of Santa

Cruz, 629 F.3d 966 (9th Cir. 2010), the court held that an individual could be ejected from a

town meeting pursuant to clearly delineated decorum rules if doing so was necessary to alleviate

an “actual disruption.” Id. at 976. The Ninth Circuit later clarified its decision by explaining

that removing an individual from the event he is disrupting does not justify excluding that person

from future events, absent concrete evidence that he would actually cause a disruption in the

future or posed a risk to “public safety.” Reza v. Pearce, 806 F.3d 497, 506-07 (9th Cir. 2015).

Accord United States v. Bronstein, 849 F.3d 1101, 1108 (D.C. Cir. 2017) (construing the words

“harangue” and “oration” as not unconstitutionally vague where those terms applied only to

actual “disruptions of the Supreme Court’s order and decorum”). Defendants have never

suggested that Mr. Karem is likely to disturb a future White House event or that he poses a risk

to public safety. Indeed, they make clear that his suspension is predominantly retrospective, in

that he is being punished for past conduct. 5

         Further, neither Ms. Grisham in her “final decision” letter nor the Justice Department in

its opposition brief argues that the suspension was based on any pattern of allegedly disruptive

conduct by Mr. Karem or even a single prior act. This was by all accounts an extraordinary and

unique event, without precedent, and even if the White House believes Mr. Karem should have


 4
     Contempt proceedings also carry significant procedural protections, and contempt statutes include maximum
     sentences. See, e.g., 42 U.S.C. § 1995 (setting maximum sentence for contempt at six months or $1,000). None
     of these protections exists here.
 5
     Nor do Griffin v. Sec’y of Veterans Affairs, 288 F.3d 1309, 1325 (Fed. Cir. 2002), and its discussion of 38
     C.F.R. § 1.218(a)(14), help Defendants. The “regulations requiring the preservation of dignity and decorum at
     national cemeteries” at issue in that case, Opp. at 26, are completely different from the unwritten standards at
     issue here. The Griffin regulations contained nearly 200 words of detailed explication as to what “dignity and
     decorum at national cemeteries” meant. See 38 C.F.R. § 1.218(a)(14).

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responded differently to this one-time circumstance, he had no notice that his effort to deal with

the situation could give rise to any punishment, let alone the suspension of his hard pass.

         The vagueness problems that permeate Defendants’ “decorum” and “professionalism”

standards are exacerbated by the ambiguity surrounding when—and to whom—they apply. The

White House claims it established rules of decorum governing press conferences through a letter

it sent to one reporter, Jim Acosta, which it made no apparent effort to provide to other reporters.

Karem Reply Decl. ¶ 1. But the White House “decided” that these rules would not apply to press

events, which are (in the White House’s view) governed by unwritten understandings that may

not be known to reporters, but are known to Ms. Grisham. Further complicating matters is that

the unwritten understandings Ms. Grisham has discovered apply to some attendees at press

events (such as Mr. Karem) but not to others (such as Mr. Gorka and Mr. Hanson). See Opp. at

27 (“[W]hatever standard might be applied to guests would not necessarily apply to the press.”). 6

         Defendants’ explanation that Ms. Grisham can suspend reporters but is powerless to take

action against anyone else is based on a factual distinction that the President himself has rejected.

The President considered the Social Media Summit guests to be reporters, as did the guests

themselves, while characterizing the White House press corps as “fake news.” See Compl. ¶ 43

(“[Guest Joy] Villa, identifying herself and the summit invitees as ‘citizen journalists,’ lectured

reporters from established news organizations, announcing that ‘fake news is over’ and ‘you

gotta stop reporting fake news.’”); Ex. 63 at 0:30-1:00 (video of the same); Ex. 64 at 0:00-0:20

(same); Ex. 95 at 2 (statement of the President: “you’re journalists” and “that’s exactly what you



 6
     Defendants go so far as to argue that even if Mr. Karem had no notice of the standards with which his conduct
     was required to comply—which he did not—due process was satisfied when Ms. Grisham clarified in her letters
     the supposed rules and applied them retroactively to his conduct. Opp. at 24. However, under well-settled law,
     the retroactive application of a new interpretation of law to impose punishment clearly violates due process.
     See Bouie v. City of Columbia, 378 U.S. 347, 354-62 (1964).

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are”). It is arbitrary and discriminatory for Ms. Grisham to ignore the aggressive and menacing

behavior of guests toward journalists at a press event on the White House grounds. But as she

conceded in her meeting with Mr. Karem’s counsel, neither she nor anyone else has taken any

action against anyone other than Mr. Karem. Instead, President Trump himself celebrated Mr.

Gorka’s “win[]” at the event with a Tweet. Ex. 41.

       C. Defendants Denied Mr. Karem Due Process By Withholding Evidence And
       Denying Him A Fair Opportunity To Be Heard.

       Defendants fail to rebut the many procedural defects Mr. Karem identified in his

Complaint and motion. One glaring example is their refusal to give Mr. Karem the statement

they obtained from the Secret Service agent—a statement that was then used throughout the

Final Decision to justify the suspension. The D.C. Circuit has held that “disclosure of

unclassified evidence is required by the Due Process Clause” before a deprivation of liberty or

property occurs, Ralls Corp. v. Comm. on Foreign Inv. in U.S., 758 F.3d 296, 318 (D.C. Cir.

2014), and Defendants have never given a reason for their decision to conceal this evidence.

       Apparently recognizing the due process implications of the concealment, Defendants

again try to have it both ways and claim that Ms. Grisham did not actually “rely” on the agent’s

account. But see Champion Decl. ¶ 4. In this regard, the decision speaks for itself, repeatedly

citing the agent’s alleged words and actions to buttress Ms. Grisham’s analysis of Mr. Karem’s

conduct. See Ex. 10 at 2 & n.9, 3-4, 8. Indeed, the public statement Ms. Grisham made after this

lawsuit was filed focused on the importance of the agent’s account to her decision. She stated

that a suspension was warranted because Mr. Karem’s conduct “threatened to escalate . . . into a

physical [confrontation] to the point that the Secret Service . . . intervene[d],” id. at 8 (emphasis

added). Mr. Karem’s own witnesses reaffirmed the importance of the Secret Service agent’s

role. See Feinberg Decl. ¶ 18 (explaining that a Secret Service agent spoke to Karem, mistakenly


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thinking it was Karem who had said Gorka “would kick your punk ass”). Defendants’ failure to

provide the agent’s statement blatantly violated Mr. Karem’s due process rights, as he was

denied access to evidence critical to the events at issue.

         An additional due process defect is that Mr. Karem was not given an opportunity to make

his case before the President approved the “preliminary decision” to suspend his hard pass—and

Defendants do not contend that he ever approved Ms. Grisham’s final decision. Assuming that

the President is the ultimate decisionmaker—as indicated by Ms. Grisham’s determination that

she needed to obtain his approval of her preliminary decision—there was a due process violation

in that the President never approved her final decision, and approved her preliminary decision

without even hearing Mr. Karem’s defense. 7

         Defendants also attempt to have it both ways with respect to the Administrative

Procedure Act (APA). Defendants rely on it (and associated case law) to support their

exhaustion and waiver arguments but then disclaim it as convenient. See Opp. at 28, 29 n.7.

Defendants portray Ms. Grisham’s decision as a quasi-judicial adjudication, but it did not come

remotely close to meeting APA requirements. For instance, the APA requires that a party in

adjudicative proceedings receive “notice . . . of . . . the legal authority and jurisdiction under

which the hearing is to be held.” 5 U.S.C. § 554(b)(2). That did not happen here. Ms. Grisham



 7
     Defendants attempt to use Mr. Karem’s alleged lack of “contrition” against him, without providing notice that
     they would do so. But Mr. Karem could not possibly have known that his “contrition” or lack thereof would be
     a factor in deciding his punishment. Cf. 2018 Guidelines Manual § 3E1.1 (providing affirmative notice that
     “acceptance of responsibility” can reduce a criminal sentence); see also Champion Decl. ¶ 3 (“I also asked what
     type of evidence would be helpful to them that Mr. Karem might be able to provide. Mr. Philbin shrugged at
     that question and did not identify anything specific that they wanted Mr. Karem to provide.”). Of course, if Mr.
     Karem had apologized to Ms. Grisham (even though he has nothing to apologize for), Defendants would no
     doubt have treated it as an “admission” justifying the suspension. In any event, it is impermissible to base the
     suspension on Mr. Karem’s defending himself and asserting his innocence. Cf. Wilder v. R.J. Reynolds
     Tobacco Co., 2013 WL 12157861, at *3 (M.D. Fla. Jan. 17, 2013) (granting motion in limine prohibiting
     “evidence [and] argument re[garding] punishing [d]efendants for defending themselves or failing to take
     responsibility,” and noting “[d]efendants have a right to vigorously defend their position”).

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has never identified what authority gives her adjudicative powers over reporters, let alone

authority to establish and enforce ex post facto the rules under which hard passes may be

suspended.

         In fact, the APA would squarely prohibit Ms. Grisham from adjudicating this case

because it provides that the prosecutor cannot also be the judge. See 5 U.S.C. § 554(d)(2) (“An

employee or agent engaged in the performance of investigative or prosecuting functions for an

agency in a case may not, in that or a factually related case, participate or advise in the decision,

recommended decision, or agency review pursuant to section 557 of this title, except as witness

or counsel in public proceedings.”); see also In re Murchison, 349 U.S. 133, 136

(1955) (“Fairness of course requires an absence of actual bias in the trial of cases. But our

system of law has always endeavored to prevent even the probability of unfairness. To this end

no man can be a judge in his own case and no man is permitted to try cases where he has an

interest in the outcome.”). But that is precisely what happened here: Ms. Grisham constructed

her own record, seeking out YouTube videos and obtaining a witness statement to build her case

against Mr. Karem—and then used the results of her own investigation to decide the case based

on standards she created herself and announced for the first time in her decision. 8

         Moreover, Ms. Grisham is not a “hearing officer[],” Opp. at 31, and has no business

adjudicating anything, let alone whether a reporter’s “First Amendment liberty interest in a

White House press pass” can be curtailed. Ex. 30 (CNN Ruling) at 6:14-15. Ms. Grisham is the

White House Press Secretary and therefore is institutionally unfit to serve as a neutral and


 8
     Defendants brush aside the fact that Mr. Karem was required to locate evidence and prepare his defense in a
     matter of days, contending that “Plaintiff identifies no materials he would have submitted had he been provided
     with additional time.” Opp. at 31. But Defendants concede that “Plaintiff’s belated declarations”—the product
     of the additional time Mr. Karem had before he was forced to commence litigation—“were not presented to the
     Press Secretary for consideration.” Opp. at 28 n.6. Defendants cannot simultaneously claim that Mr. Karem
     has not identified new evidence and at the same time seek to suppress his new evidence.

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unbiased adjudicator of press “decorum,” given that the nature of the job demands a degree of

adversity with the press corps on behalf of a boss who has literally branded the press the

“enemy.” A press secretary is not guided by an independent understanding of the law and a

desire to see that justice is done regardless of the political consequences. To the contrary, the

press secretary’s primary responsibility is to advance the political objectives of her principal.

See Ex. F (reporting on Ms. Grisham’s “willingness to publicly assail those who displease the

president”). The press secretary therefore cannot serve as an unbiased adjudicator of the

constitutional rights of reporters, especially reporters she perceives as hampering the President’s

political objectives. See Bickel, supra, at 87 (“The First Amendment . . . ordains an unruly

contest between the press, whose office is freedom of information and whose ambition is joined

to that office, and government, whose need is often the privacy of decision-making and whose

servants are ambitious to satisfy that need.”); see also Young v. U.S. ex rel. Vuitton et Fils S.A.,

481 U.S. 787, 790 (1987) (holding that “counsel for a party that is the beneficiary of a court

order may not be appointed to undertake contempt prosecutions for alleged violations of that

order”). 9

         D. The First Amendment Does Not Permit The White House To Selectively Deny
         Access To Its Press Facilities.

         In declaring the White House a First Amendment-free zone, the government badly

misstates the law and defies the D.C. Circuit’s decision in Sherrill. That case makes clear that

the White House must have “compelling reasons” to exclude a reporter from its press areas (i.e.,



 9
     Although Defendants contend Mr. Karem had to “advance[] all . . . arguments for consideration” before Ms.
     Grisham, acting as self-appointed “adjudicator[],” Opp. at 28, 32, in each case cited by Defendants for that
     proposition, there was an underlying formal agency process with a statutory basis for appeal to federal court.
     See Opp. at 28; 28 U.S.C. § 2342; 7 U.S.C. § 2149(c). No such formal process with corresponding statutory
     basis for appeal exists here. And, in any event, Defendants themselves contend that neither the President nor
     the White House Press Office is an “agency” subject to a statutory review provision like the APA. Opp. at 29.

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the areas for which a hard pass grants access). See Sherrill, 569 F.2d at 129. Restrictions on

access are not reviewed under a “deferential” reasonableness standard, as Defendants would

have it. See Opp. at 37 n.9.

         Sherrill recognizes that the White House’s press facilities constitute a “limited” or

“designated” public forum protected by the First Amendment. A “limited public forum” is

“property that the State has opened for expressive activity by part or all of the public.” Int’l

Soc’y for Krishna Consciousness, Inc. v. Lee, 505 U.S. 672, 678 (1992) (emphasis added). The

White House press area is a limited public forum because the government “voluntarily

decide[ed] to establish press facilities for correspondents.” Sherrill, 569 F.2d at 129. Those

press facilities are presumptively “open to bona fide Washington-based journalists,” and

therefore access to those facilities may not be denied for “less than compelling reasons.”

Sherrill, 569 F.2d at 129; see also Ex. 30 (CNN ruling), at 7:24-8:5 (recognizing a reporter’s

First Amendment liberty interest in access “once the White House opens a portion of [its

grounds] up to reporters for their use,” notwithstanding the fact “that the public doesn’t have a

general First Amendment right to enter the White House grounds”). 10

         Defendants are therefore wrong to insist that they can engage in content or viewpoint

discrimination in regulating access to White House press areas. In a limited public forum, the

government may enact reasonable, content-neutral time, place, and manner restrictions that “are

narrowly tailored to serve a significant government interest[] and leave open ample alternative

channels of communication.” Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37,

45-46 (1983). But the government may not engage in viewpoint-based discrimination. See, e.g.,



10
     Defendants falsely claim that Mr. Karem’s counsel “acknowledged that the White House’s interest in ensuring
     decorum is a compelling one” by quoting Ms. Grisham’s self-serving August 16 letter. Opp. at 35. Mr.
     Karem’s counsel said no such thing. See Champion Decl. at ¶ 5.

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Good News Club v. Milford Cent. Sch., 533 U.S. 98, 106 (2001) (“The restriction must not

discriminate against speech on the basis of viewpoint.”); Rosenberger v. Rector & Visitors of

Univ. of Va., 515 U.S. 819, 829 (1995) (holding that the state is “forbidd[en] . . . to exercise

viewpoint discrimination, even when the limited public forum is one of its own creation”). In

fact, even in a nonpublic forum, the government may not enact regulations that evince a desire

“to suppress expression merely because public officials oppose the speaker’s view.” Perry, 460

U.S. at 46; accord Int’l Soc. for Krishna Consciousness, 505 U.S. at 679 (holding that a

limitation on speech in a nonpublic forum “need only be reasonable, as long as the regulation is

not an effort to suppress the speaker’s activity due to disagreement with the speaker’s view”);

Oberwetter v. Hilliard, 639 F.3d 545, 551-53 (D.C. Cir. 2011).

       Defendants deny that they are engaging in viewpoint discrimination, claiming there is no

direct evidence that the suspension was motivated by Mr. Karem’s tough reporting on, and

questioning of, the President. But “the government rarely flatly admits it is engaging in

viewpoint discrimination,” Am. Freedom Def. Initiative v. Wash. Metro. Area Transit Auth., 901

F.3d 356, 365 (D.C. Cir. 2018), and viewpoint discrimination is often proven by circumstantial

evidence. See Opp. at 41 (conceding that circumstantial evidence like “differential treatment can

serve as evidence of pretext,” and citing 2922 Sherman Ave. Tenants’ Ass’n v. District of

Columbia, 444 F.3d 673, 684 (D.C. Cir. 2006)).

       Here, the singling out of Karem while overlooking the far more egregious misconduct of

Mr. Gorka and others—as well as the absence of published standards, the lack of previous

attempts to enforce decorum standards at White House press events, and the Administration’s

acknowledged attempts to weaponize hard passes to punish what it deems “fake news”—all

point to impermissible viewpoint discrimination. See Opening Br. at 36-37. “[A] lack of



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evenhandedness in the Government’s actions . . . raises a suspicion that the stated neutral ground

for action is meant to shield an impermissible motive,” and the government’s “mere recitation of

viewpoint-neutral rationales (or the presentation of a viewpoint-neutral guideline) for its

decisions” to restrict the plaintiff’s speech “does not immunize those decisions from scrutiny.”

Am. Freedom Def. Initiative, 901 F.3d at 365.

       Evidence of past retaliation also makes plain that the purpose of the “punishment” in this

case is to “deter” critical reporting, not disruptive conduct. Ms. Grisham has a well-documented

history of making pretextual decisions to strip disfavored journalists of press credentials. See Ex

F; see also Ex. L. As the New York Times reported just days ago, Ms. Grisham, while serving as

spokeswoman for the Arizona House’s Republican majority, “revoked The Arizona Capitol

Times’s press credentials four hours after the newspaper published an article” reporting misdeeds

by the House speaker. When Ms. Grisham’s action was criticized, she tried to frame it as “a

security measure” tied to a new background check requirement that, coincidentally, barred only

the Arizona Capitol Times journalist from the House floor. Ultimately, journalists refused to

comply with her background check requirement, and Ms. Grisham was forced to back down.

This Court is not required to accept her similarly fabricated rationale here.

       Moreover, Ms. Grisham is not alone among Trump administration personnel in crafting

pretextual decisions to punish reporters for the content of their coverage—she has admitted that

the original rationale for the White House’s prior attempt to revoke Jim Acosta’s press pass was

manufactured. When Acosta’s hard pass was suspended, Trump administration officials—

relying, again, on video of the events at issue there—explained that the suspension occurred

because Acosta had “plac[ed] his hands” on a White House intern, conduct the Trump

administration called “absolutely unacceptable.” Exs. 91-92. Indeed, Ms. Grisham’s



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predecessor tweeted that the White House “will . . . never tolerate a reporter placing his hands on

a young woman just trying to do her job as a White house intern.” Ex. 91. As Judge Kelly

noted, however, that “specific reason[] for the revocation . . . was likely untrue and was at least

partly based on evidence that was of questionable accuracy”—namely, a video that was doctored

to distort the nature of Mr. Acosta’s actions. Ex. 30 (CNN Ruling) at 11:2-8. Now, however, to

justify Mr. Karem’s suspension, Ms. Grisham concedes that Acosta engaged in only “incidental

and fleeting” physical contact, if any, with the intern, whereas “Mr. Karem’s words and actions

in this case were deliberate, intentional, and persistent.” Ex. 10 at 13. This administration’s

now-admitted history of adopting pretextual rationales based only on falsehoods and on its

interpretations of video (and doctored footage to boot in the Acosta case) should render Ms.

Grisham’s narrative of the July 11 events inherently suspect.

       Finally, Defendants argue that the suspension of Mr. Karem’s hard pass cannot be

punishment for hostile reporting, because the White House press corps is “populated by reporters

who are . . . extremely critical of the President and his policies.” Opp. at 40-41. That argument

is belied by uncontroverted evidence that Karem’s reporting in particular has earned the ire of

the White House and its allies. See Opening Br. at 8-9; Karem Decl. ¶¶ 17-21; Exs. 24-25; see

also Ex. 13 (Fox News host urging the White House to “rip[] press passes away” from Acosta

and Karem). Moreover, the fact that President Trump is waging war against the content of a

major segment of the press—what he calls the “Lamestream Media” and “Fake News”—is

hardly a defense. Rather, it only drives home the fact Mr. Trump and his administration are

targeting the press credentials of individual journalists one by one—first Acosta and now

Karem—so as to “have a chilling effect on the press as a whole,” Donaldson Decl. ¶ 19, as the

President himself has acknowledged, see Ex. 44 (“I do it to discredit you all and demean you all



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so when you write negative stories about me, no one will believe you.”). On top of that, Mr.

Trump touted the activists he hosted at the White House on July 11 as “journalists,” Ex. 95, and,

as the New York Times reported yesterday: “A loose network of conservative operatives allied

with the White House is pursuing what they say will be an aggressive operation to discredit news

organizations deemed hostile to President Trump by publicizing damaging information about

journalists. It is the latest step in a long-running effort by Mr. Trump and his allies to undercut

the influence of legitimate news reporting.” Ex. M; see also Ex. A.

       The First Amendment does not countenance the selective punishment of disfavored

journalists. See Stewart v. Dist. of Columbia Armory Bd., 863 F.2d 1013, 1020 (D.C. Cir. 1988)

(holding that what was represented to be a “policy” was instead impermissible “ex post

justification for [a] decision selectively to exclude” disfavored speakers); Stewart v. Dist. of

Columbia Armory Bd., 789 F. Supp. 402, 406 (D.D.C. 1992) (granting a temporary restraining

order and preliminary injunction to enjoin restrictions on speech where there was “at least a

suggestion” that plaintiffs’ speech was being restricted “because defendants disagreed with the

messages contained therein”).

II.    The Remaining Preliminary Injunction Factors Tilt Strongly In Mr. Karem’s
       Favor.

       In addressing the remaining preliminary injunction factors, Defendants studiously ignore

the most relevant and recent precedent—CNN v. Trump. There, Judge Kelly held that the harm

arising from the suspension of a reporter’s hard pass is “actual,” not “speculat[ive]” or

“theoretical,” see Ex. 30 (CNN ruling), at 12:1-8; contra Opp. at 43-44, and that “[c]onstitutional

injuries are often considered irreparable due to their very nature,” see Ex. 30, at 12:10-11.

“[E]ach day” that Mr. Karem is deprived of his constitutionally protected liberty interest in

accessing and reporting on the White House, “he suffers a harm that cannot be remedied in


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retrospect”: The denial of “access to press briefings that have already occurred or to

conversations in the White House press facilities that have already been had” cannot be

compensated ex post. Ex. 30 (CNN ruling), at 13:8-13.

       Instead, the government argues that the suspension of one reporter’s hard pass does not

cause irreparable harm and does not contravene the public interest because “the American public

will still have significant White House access through other reporters.” Opp. at 44. But, Judge

Kelly rejected that precise argument, recognizing that the liberty interest in a press pass belongs

to “individual journalists themselves,” and thus the fact that other journalists may continue to

cover the White House does not make the harm to the suspended reporter “any less irreparable.”

Ex. 30 (CNN ruling), at 13:4-8 (emphasis added); see also, e.g., Sherrill, 569 F.2d at 129-30

(noting the public interest “in assuring . . . that individual newsmen not be arbitrarily excluded

from sources of information”) (emphasis added); Telemundo of L.A. v. City of Los Angeles, 283

F. Supp. 2d 1095, 1104 (C.D. Cal. 2003) (recognizing “the public interest in diversity of

coverage of newsworthy events”).

       As to the balance of equities, the only harm that the government identifies is the

“intrusive[ness]” of a “decree ordering access to the President’s official residence and personal

offices.” Opp. at 45. But this is an obvious straw man: Mr. Karem does not seek to “intru[de]”

into “personal” or “residen[tial]” areas of the White House areas, but rather seeks access to the

press facilities that the White House has “intentionally opened” to the public—his workplace for

the last 20 years. Cf. Knight First Am. Inst. v. Trump, 928 F.3d 226, 237 (2d Cir. 2019) (public

forum is created when the government “intentionally open[s]” a site for “public discussion”).

Granting that access does not cause any injury to the government. Indeed, the White House

admits—as it must, given that the Rose Garden events occurred well over a month before the



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suspension was ordered—that the purpose of the suspension is not “for safety or security,” Ex.

30 (CNN ruling) at 14:5-6—but rather to “punish[]” and “deter” Mr. Karem. Ex. 10 at 8.

       Finally, the public interest in a free press is harmed when the government makes an

example of one reporter to chill unfavorable reporting by the press as a whole. See, e.g.,

Donaldson Decl. ¶¶ 18-19 (attesting that the White House’s decision “will have a chilling effect

on the press as a whole,” which will no longer “feel safe from White House retaliation,” if the

decision “is not reversed”).

                                        CONCLUSION

       For the foregoing reasons, Mr. Karem respectfully requests that this Court issue a

temporary restraining order and preliminarily enjoin Defendants, requiring them to restore Mr.

Karem’s hard pass.

 Dated: August 26, 2019                           Respectfully submitted,

                                                  /s/ Theodore J. Boutrous, Jr.        __
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BRIAN J. KAREM,


                 Plaintiff,

       v.                                                     Case No. 1:19-cv-02514-KBJ

 DONALD J. TRUMP, in his official capacity as
 President of the United States and in his individual
 capacity; and STEPHANIE GRISHAM, in her
 official capacity as White House Press Secretary and
 in her individual capacity,

                 Defendants.




  DECLARATION OF THEODORE J. BOUTROUS, JR. IN FURTHER SUPPORT OF
      PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER
                    AND PRELIMINARY INJUNCTION

        I, THEODORE J. BOUTROUS, JR., hereby declare under penalty of perjury the

following:

        1.      My name is Theodore J. Boutrous, Jr. I am a partner with the law firm of Gibson,

Dunn & Crutcher LLP and a member of the bar of this Court. I represent Plaintiff Brian Karem

(“Karem”) in the above-captioned action. By virtue of my direct involvement in this matter, I

have personal knowledge of the content of this declaration, and I could and would competently

testify to the truth of the matters stated herein.

        2.      Attached as Exhibit A is a true and correct copy of an article by Charles Taylor,

published by Salon, entitled “When Playboy was hot,” dated October 9, 2002, available at

https://www.salon.com/2002/10/09/playboy_2/.
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           3.   Attached as Exhibit B is a true and correct copy of an article by Greg Kandra,

published by CBS News, entitled “Was That Question A Plante?,” dated August 14, 2007,

available at https://www.cbsnews.com/news/was-that-question-a-plante/.

           4.   Attached as Exhibit C is a true and correct copy of an article by Steven V.

Roberts, published by The New York Times, entitled “Washington Talk: The Presidency;

Shouting Questions At Reagan,” dated October 21, 1987, available at

https://www.nytimes.com/1987/10/21/us/washington-talk-the-presidency-shouting-questions-at-

reagan.html.

           5.   Attached as Exhibit D is a true and correct copy of an article by Joseph Curl,

published by The Washington Times, entitled “The White House press corps is broken beyond

repair,” dated June 19, 2018, available at

https://www.washingtontimes.com/news/2018/jun/19/white-house-press-corps-broken-beyond-

repair/.

           6.   Attached as Exhibit E is a true and correct copy of an article by Matthew Felling,

published by CBS News, entitled “Picking Bush’s Brain,” dated August 14, 2007, available at

https://www.cbsnews.com/news/picking-bushs-brain/.

           7.   Attached as Exhibit F is a true and correct copy of an article by Elizabeth

Williamson, published by The New York Times, entitled “Stephanie Grisham’s Turbulent Ascent

to a Top White House Role,” dated August 22, 2019, available at

https://www.nytimes.com/2019/08/22/us/politics/stephanie-grisham-press-secretary.html.

           8.   Attached as Exhibit G is a true and correct copy of an article by Dana Milbank,

published by The Washington Post, entitled “Let’s ‘gut check’ all of Trump’s vulgar,

unpresidential statements,” dated August 23, 2019, available at
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https://www.washingtonpost.com/opinions/how-beastly-is-trump-the-post-gut-checker-

investigates/2019/08/23/72b70ab2-c5b3-11e9-b5e4-54aa56d5b7ce_story.html.

       9.      Attached as Exhibit H is a true and correct copy of an article by Ronald G.

Shafer, published by The Washington Post, entitled “The White House reporters who made

presidents fume long before Jim Acosta,” dated November 18, 2018, available at

https://www.washingtonpost.com/history/2018/11/18/white-house-reporters-who-made-

presidents-fume-long-before-jim-acosta/.

       10.     Attached as Exhibit I is a true and correct copy of an article by Byron Tau and

Donovan Slack, published by Politico, entitled “Obama interrupted by heckling reporter,” dated

June 15, 2012, available at https://www.politico.com/blogs/politico44/2012/06/obama-

interrupted-by-heckling-reporter-126301.

       11.     Attached as Exhibit J is a true and correct copy of an article by Dave Boyer,

published by The Washington Times, entitled “Obama scolds reporter for asking question at press

conference,” dated October 18, 2016, available at

https://www.washingtontimes.com/news/2016/oct/18/obama-scolds-reporter-question-press-

conference/.

       12.     Attached as Exhibit K is a true and correct copy of an article by Danielle

Wallace, published by Fox News, entitled “Trump’s ‘chopper talk’ news conference blow away

White House press corps: report,” dated August 23, 2019 available at

https://www.foxnews.com/politics/trump-chopper-talks-reporters-criticize-accesible-

accountable-marine-one-helicopter-press-secretary-grisham.

       13.     Attached as Exhibit L is a true and correct copy of a letter dated September 20,

2018, from Erica S. Hamrick, Deputy Chief of Hatch Act Unit to Noah Bookbinder, Executive
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Director, Citizens for Responsibility and Ethics in Washington regarding Stephanie Grisham,

available at

https://s3.amazonaws.com/storage.citizensforethics.org/wpcontent/uploads/2018/09/21140938/G

rishamHatchLetter.pdf.

       14.     Attached as Exhibit M is a true and correct copy of an article by Kenneth P.

Vogel and Jeremy W. Peters, published by The New York Times, entitled “Trump Allies Target

Journalists Over Coverage Deemed Hostile to White House,” dated August 25, 2019, available at

https://www.nytimes.com/2019/08/25/us/politics/trump-allies-news-media.html.

       15.     Attached as Exhibit N is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated August 25, 2019 at 10:30 a.m., available at

https://twitter.com/realdonaldtrump/status/1165677808896507904.

       16.     Attached as Exhibit O is a true and correct copy of an article by Jose A. DelReal,

published by The Washington Post, entitled “Trump denies mocking journalist who has

disability, demands an apology,” dated November 26, 2015, available at

https://www.washingtonpost.com/politics/trump-denies-mocking-journalist-with-disability--and-

demands-an-apology/2015/11/26/797e011c-9492-11e5-b5e4-279b4501e8a6_story.html.
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    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on this 26th day of August 2019.


                                   __/s/ Theodore J. Boutrous, Jr.
                                   Theodore J. Boutrous, Jr
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                                                                                                                                ×




                                                                                                          Up Next
                                                                                                     BILLIONAIRE DAVID KOCH DIES
                                                                                                                AT 79
                                                                                                            SHIRA TARLO

                                                                                                      DOJ SENDS LINK TO WHITE
                                                                                                         NATIONALIST SITE
                                                                                                            SHIRA TARLO

                                                                                                     THE RISE OF TRUMP; THE FALL
                                                                                                             OF THE GOP
                                                                                                         CHAUNCEY DEVEGA




      When Playboy was hot
      Once upon a time, magazines were meant to be read, not just eyeballed.
      Today's readers lust for that kind of literary excitement.




      CHARLES TAYLOR
      OCTOBER 9, 2002 11:16PM (UTC)



      It's December 1968 and you grab a mag at the local newsstand. The table of contents
      includes the following: A quartet of short stories by Alberto Moravia; a symposium on
      creativity with contributions from Truman Capote, Lawrence Durrell, James T. Farrell,
      Allen Ginsberg, Le Roi Jones, Arthur Miller, Henry Miller, Norman Podhoretz, Georges
                                                                                                Trending Articles
      Simenon, Isaac Bashevis Singer, William Styron and John Updike; humor pieces from
      Jean Shepherd and Robert Morley; an article on pacifism in America by Norman
      Thomas; a piece on how machines will change our lives by Arthur C. Clarke; an essay
      on "the overheated image" by Marshall McLuhan; contributions from Eric Hoffer and
      Alan Watts; an article in defense of academic irresponsibility by Leslie Fiedler; a
      memoir of Hemingway by his son Patrick; Eldridge Cleaver interviewed by Nat
      Hentoff; a travel piece by the espionage novelist Len Deighton; and the first English
      translation of a poem by Goethe.


      Yes, folks, that was Playboy. And lest you think that issue was a fluke, an overstuffed
      Christmas goodie, the ad for the January 1969 issue promises a story from P.G.
      Wodehouse, an article by Supreme Court Justice William O. Douglas, fiction from
      Robert Coover and Sean O'Faolain, and a never before published tale by Lytton
      Strachey.




https://www.salon.com/2002/10/09/playboy_2/                                                                      23-Aug-19
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      Sure, the reason most of us started reading Playboy was for the girls. But when the
      history of American magazines is written, people who said "I read it for the articles"
      will have the last laugh. As will Hugh Hefner, who told a reunion of Playmates in
      1979, "Without you, I'd be the publisher of a literary magazine." With new editor
      James Kaminsky starting this week, and even Hefner saying the magazine needs to
      recapture its distinction, Playboy has the opportunity to be a catalyst for change in
      the magazine world. It can do what it did in the '60s and be a magazine with balls
      (and boobs), leading the moribund magazine world into a new era of editorial rebirth.
      A pipe dream, I know, but not a complete fantasy.


      In its heyday, from roughly the mid-'60s to the mid-'70s, Playboy was one of the great
      American magazines in an era of great American magazines, like Esquire under
      Harold Hayes and the New Yorker under William Shawn. The big cliché about Playboy
      has long been that it benefited from "the Sexual Revolution." Duh. But the reasons it
      flourished went well beyond that. Playboy was lucky enough to be around when the
      confluence of New Journalism (practiced by, among others, Tom Wolfe, Gay Talese
      and Norman Mailer) and a literate, adventurous readership ready for in-depth articles
      rich with the writer's voice allowed editors and publishers to assume the intelligence
      of their readers and take all sorts of chances.


      That amazing lineup of writers in Playboy's Christmas 1968 issue was not unusual
      for magazines in the '60s. Remembering some of what was published in that decade
      should bring shame to editors today. This was an era when Truman Capote's "In Cold
      Blood" was excerpted in the New Yorker, when 90,000 words of Norman Mailer's
      "Armies of the Night" appeared in Harper's, when "Fear and Loathing in Las Vegas"
      appeared in Rolling Stone. It was a time when fiction writers, or writers who brought a
      novelist's eye for character and detail to nonfiction, were routinely dispatched to
      cover political campaigns and conventions.


      And those dispatches became Mailer's two great books on the 1968 and 1972
      conventions, and Hunter S. Thompson's coruscating "Fear and Loathing on the
      Campaign Trail 1972." Esquire's correspondents at the disastrous 1968 Democratic
      convention in Chicago were William S. Burroughs, Terry Southern and Jean Genet.
      (The only recent book to equal Mailer's and Thompson's work is Steve Erickson's
      book of the 1992 campaign, "American Nomad," and Rolling Stone fired him after he
      had turned in just two installments.) Some of the best writing to come out of
      Watergate were the pieces Mary McCarthy did for the New York Review of Books
      (later collected as "The Mask of State").


      The '60s and '70s gave forth a wealth of amazing journalism, pieces like Mailer's
      "Superman Comes to the Supermarket," Gay Talese's "Frank Sinatra Has a Cold,"
      Stanley Booth's "A Hound Dog to the Manor Born" (an awful title that Booth removed
      when the piece was collected in his book "Rhythm Oil"), Terry Southern's "Twirling at
      Ole Miss," Tom Wolfe's "The Last American Hero Is Junior Johnson. Yes!," the




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      criticism of Pauline Kael, Kenneth Tynan's profiles and essays, and on and on. The
      culture was springing fresh astonishments and outrages on us daily, and these
      writers and many others hit the ground running, determined to keep up.


      Luckily, they were abetted by editors who, unlike so many editors today, had the
      power to tell the advertising department to go chase itself if they tried to interfere
      with editorial content. Editors like Shawn, Hayes and Hefner had visions of what they
      wanted their magazines to be and stuck to them. I'm guessing it was a mixture of
      guts, confidence, arrogance and a deep loathing of mediocrity that fired these men,
      as well as a sense that journalistic ethics required you to be something of a
      segregationist: the advertisers may pay the fare but they sit in the back of the bus.


      And readers stuck with these men and their magazines. The letters in that December
      1968 Playboy are striking. One, from a gentleman in Wilmington, Ohio, came in
      response to a Nat Hentoff piece about police organizations' keeping "subversive"
      groups under surveillance. The man writes: "I ... am grateful that so many sane,
      thinking people have awakened to the fact that S.D.S., the A.C.L.U., etc., are as much
      an enemy as the U.S.S.R." In response to a piece against premarital sex, a woman
      from Seattle writes: "God intended intercourse to be an act of love between a
      husband and a wife. Outside marriage, it is sinful and dirty." Both correspondents are
      obviously conservative. But they're still reading Playboy and are eager to join in the
      debate the articles kicked up.


      All sorts of people read Playboy then. A gay friend of mine who grew up in Louisiana
      in the '60s was a subscriber. For him, as a teenager, the magazine "represented what
      all magazines represented to me, which was the city." It opened avenues of
      sophistication to him and, he says, since it was pro-sex, it offered a gay teen a sense
      that there was nothing to be ashamed of. My wife attended journalism school in the
      early '80s where her professors regularly advised their students to read the magazine
      for its editorial excellence.


      The December 1968 issue of Playboy is coveted by collectors largely because of
      Miss December, Cynthia Myers, soon to find cult status for her role in Russ Meyer's
      (no relation) "Beyond the Valley of the Dolls." But to those of us old enough to
      remember the golden age of American magazines, the sexiest thing in that Playboy
      are those lovely pages and pages of unbroken, three-column type. No call-outs, no
      charts, no graphics. The people in charge assumed that if you were buying a
      magazine, you wanted to actually read it.


      Reading is the last thing that the people who put together most mainstream
      magazines seem to expect their readers to do. Look at Maxim or FHM, the "lads"
      magazines that have been such a success with the male 18-34 audience, or even the
      "lifestyle" glossy InStyle. Now try to find an article. You'll have an easier time finding a
      Tarkovsky movie at Blockbuster. Charts, all of them with pictures crowding out




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      words, have replaced writing. There is nowhere for your eyes to rest on a page. Often
      it takes a minute to figure out the flow of type that's there -- where it begins, where
      one column continues.


      The overwhelming message these magazines give their readers is that they don't
      believe the readers have either the interest or the mental ability to read articles. Ed
      Needham, the new editor of Rolling Stone and a former editor at FHM, put it a little
      more diplomatically in the New York Times recently, saying that he didn't think that
      people had time to read anymore. The logical response to that statement would be
      that magazines shouldn't be catering to the audience that doesn't have time to read.


      Unfortunately, they are. Not only are venues for serious writing shrinking, the editorial
      space inside the magazines is too. Falling advertising revenues, the impact of
      celebrity journalism (not just journalism about celebrities but profiles that are
      arranged and preapproved by the stars' publicity agents), and the mad scramble to
      duplicate success formulas have had a devastating effect on journalism. There is still
      plenty of good writing to be found out there, and sometimes in unexpected places
      (Elle's book section is often good, for instance). What doesn't exist is a print
      magazine that's a must-read -- as opposed to a must-skim -- every month. Individual
      articles can still make an impact. But magazines of all stripes have become like TV
      shows that drag on from season to season long after the things that made them new
      and exciting and fun have become rote.


      Sadly, Playboy is one of them. Apart from an interview with Willie Nelson and the
      always fun feature "The Playboy Forum" (devoted, as ever, to the encroachment on
      civil liberties), the November 2002 issue features barely one interesting article. And
      what is there doesn't reflect the sophistication the magazine once had; 20Q, a feature
      that could be described as the Playboy Interview Lite, features Rams running back
      Marshall Faulk who voices his support for gays in the NFL by saying, "I'd have nothing
      against anybody if they were gay, but really, I don't want to know ... I don't want to
      know what so-and-so did with his wife last night, so why would I want to know if he's
      smoking the pole?"


      According to a recent article in Newsday, Playboy's current circulation is 3.2 million,
      the highest of any men's magazine, but that's still less than half of the 7 million
      highwater mark of the '70s. It's not hard to guess why. If few people are reading
      Playboy for the articles anymore, probably fewer are reading it for the girls. In the '60s
      and early '70s, Playboy was a socially acceptable way of looking at softcore porn. But
      with the early '70s era of porno chic, and with the appearance of Penthouse, Hustler
      and dozens of other skin mags, Playboy -- which has never been raunchy -- began to
      lose readers. Now with hardcore porn as close to being socially acceptable as it ever
      will be, when it can be accessed via the Internet and pay cable and by renting or
      buying videos and DVDs, when even Playboy's longtime competitor Penthouse
      features hardcore (complete with insertion and cum shots) and is teetering on the
      brink of extinction, Playboy's demure approach seems quaint.




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      Into this wasteland steps James Kaminsky, the 41-year-old executive editor of Maxim
      who became the editorial director of Playboy on Oct. 7. In the Newsday profile
      Kaminsky talked about how he grew up reading Playboy, calling it "the magazine that
      got me into magazines in the first place." He says he intends to keep the magazine's
      journalism and profiles, and you get the feeling that he has enough affection for what
      the magazine used to be that he really means to restore some of its glory. Hugh
      Hefner seems to share that desire. In a piece in the New York Observer, Hefner says
      that he wants the magazine to be better: "What I'm looking for is a contemporary
      version of what Playboy meant in the '60s and '70s."


      God only knows how much Kaminsky will be able to accomplish. It will depend on
      whether he has a free hand against the advertising department and if he has the will,
      skill and stamina to really remake the magazine. And let's face it, you can't reheat a
      soufflé. But giving Kaminsky the benefit of the doubt, and as a disappointed admirer
      of Playboy, I'd like to offer him some suggestions of things he could do.


      Assume that Playboy's readers already know how to get laid.
      Nobody needs another Maxim (which recently ran an article titled "How to Pick Up a
      Deaf Girl"). Newsday quotes Samir Husni, a professor of journalism at the University
      of Mississippi, who says that Playboy should sell itself as the magazine to read "once
      you graduate from Maxim." Hefner says something similar in the Observer piece.
      Kaminsky should listen to Hef, not the marketing department.


      The incredible success of Maxim and the other lads mags have people desperate to
      imitate them. In the Maxim world, anything that suggests sophistication or
      knowledge reeks of sissification. The magazine works from the assumption that
      women aren't really interested in sex and have to be tricked or bargained into it. It
      stands for a conservative, 1950s pre-Playboy sensibility -- a tittering, junior-high
      locker room view of sex. Essentially, Maxim and FHM and Stuff are sex-phobic,
      catering to men who are afraid of women instead of men who are honestly,
      unashamedly interested in sex. You hear that fear in the comments, quoted in the
      Observer, of Stuff's editor in chief Greg Gutfield, who says, "I never saw Playboy
      growing up. I only saw it at the barber shop, and it always creeped me out." That
      should be good news for Kaminsky. Surely there are plenty of men who aren't afraid
      of naked women.


      Not everyone who reads magazines is 18-34.
      Sure, Kaminsky is going to have to bring in young readers. But part of the attraction
      of magazines and books and movies for younger audiences has always been
      information about things they don't know. Exploit that natural curiosity. And exploit
      the way "older" readers are being ignored by a media intent on capturing a younger
      audience. Appeal to the vanity of both reader groups by seeking a sophisticated,
      engaged audience. And there's nothing wrong with a little arrogance. In the '70s, I
      received a subscription offer from U.S. News and World Report that said something
      like, "The idea of a nonglossy news magazine may take some getting used to. But so




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      did long pants." It was laughable in its arrogance, but the magazine wasn't afraid to
      risk losing some readers to appeal to others. That's the first step toward finding a
      dedicated readership.


      Clean up the cover.
      Playboy covers used to feature a shot of one of that issue's models flanked on either
      side by small-point type listing the contributors and some of the articles inside.
      Today Playboy's covers are as visually overwhelming and meaningless as the
      features in most magazines, with headlines buffeting each other like bumper cars. To
      see how elegant and alluring a good cover can be, look at some of the first issues of
      Harper's Bazaar that came out under the editorship of the late Liz Tilberis. No
      contemporary magazine offered covers as clean and simple, and the inside layouts
      matched that approach. Tilberis' use of a model with only the magazine's title on her
      first few issues was a masterstroke of confidence. It said, in effect, "We think we've
      got something good enough to attract you all by itself." That's the kind of confidence
      it takes to be a winner.


      Lose the deadwood.
      Hefner may feel loyalty to some longtime contributors, but trust me, LeRoy Neiman's
      artwork holds about the same appeal as putting on a Jack Jones album during a
      makeout session. Similarly, some of the "names" contributing to the magazine are
      not what they were. They don't attract readers, they don't have anything particularly
      interesting to say, and they reinforce the image of Playboy as an old fogey that's
      outlived its time.


      Cherish the written word.
      It makes me nervous to hear Kaminsky say that part of the energy he wants to bring
      to the magazine is graphics and call-outs. That's exactly what magazines don't need
      right now. Hefner has it right when he says, "I remember growing up, and people got
      their information from reading. Now it's quick hits that play well. When you tell stories
      or when you emphasize things that are more visual, you end up with more car
      crashes or murders on the air, and that passes for news."


      In modern magazines, so-called features have become the province of numbers.
      Scan any newsstand and the features you see teased on magazine covers all have
      numbers: "The 30 Most Beautiful People in Hollywood"; "146 New Fall Looks"; "15
      Ways to Fight Yeast Infection." Each article is reduced to small, predigested bits. If
      writing for the Web has taught me anything, it's that the advertisers' claim that people
      no longer want to read is horseshit. People are turning to the Web because
      magazines have left readers behind. Give your readers a meal and they'll thank you
      for it.


      Make a place for criticism.
      Yes, I know, to most advertisers criticism is about as welcome as a fart in an
      elevator. But top-notch, recurring critics on movies, books, television and music can
      play a key role in defining a magazine's identity. Playboy reviews were never that




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      long, maybe 400-650 words. But the space devoted to reviews of books, music and
      movies allowed plenty of things to be covered (even -- horrors! -- things that had
      already opened). The two or three sentences Playboy's current critics are currently
      allotted don't allow them to say jack. Surely, some other things could be cut back in
      order to expand the space given to critics. Nobody is going to miss the two pages of
      photos of Hef and various celebs smiling for the camera at Mansion parties. And no
      one's going to mourn the demise of Playboy After Hours -- "A guy's guide to what's
      hip and what's happening" -- in other words, the function that good critics can fulfill.


      Save the Interview.
      To its credit, Playboy has continued to run long, in-depth interviews. Unfortunately,
      the Playboy Interview has become almost solely the province of sports figures and
      media "personalities." It's time once more to make it the place for politics and culture.
      Looking through back issues from 1968 through the mid-'70s, I found interviews with
      the likes of Sam Peckinpah, Bernadette Devlin and Vladimir Nabokov. Playboy never
      made the mistake of thinking that airing views was tantamount to endorsing them. In
      one chancey instance, they sent Alex Haley to interview the head of the American
      Nazi Party, George Lincoln Rockwell. (Setting up the interview over the phone
      beforehand, Rockwell had only one question for Haley: Are you Jewish? Haley said
      no, Rockwell agreed to be interviewed, and was in a state of rage when Haley showed
      up.) The only Playboy Interview in recent years that measured up to its past glories
      was the fascinating interview with the Republican governor of New Mexico, Gary
      Johnson, who has become one of the most outspoken, articulate and sensible voices
      against the ruinousness of America's war on drugs. Remember the stir the Jimmy
      Carter interview caused? Imagine the interest in a Playboy interview with John Walker
      Lindh. Or Colin Powell. Or Bill Clinton. In the arts there are scores of writers, actors,
      musicians and directors that readers would be interested in. Playboy can do better
      than Fred Durst, Brit Hume and Al Michaels.


      Give good writers a place to write.
      Kaminsky can't reproduce the heyday of New Journalism. That literary culture is
      gone. But there are plenty of good writers who'd do a lot more for Playboy's
      reputation than an excerpt from the new Scott Turow novel (coming in the December
      issue), or Tom Arnold writing about his cable sports show (ditto). There's a reading
      public -- maybe some who've never bought Playboy before -- who'd be eager to read
      writers like Zadie Smith, David Foster Wallace, Nick Hornby, Jhumpa Lahiri, Michael
      Chabon, Jonathan Lethem, George P. Pelecanos, James Lee Burke, and nonfiction
      writers like Sarah Vowell or Philip Gourevitch. Playboy would not only confer
      distinction but broaden the readers beyond the target audience of heterosexual men.


      Embrace liberalism.
      I don't mean just liberal politics but the broader meaning of liberalism: fostering
      debate. If anything still unites people on the left and right it's that there are many who
      are longing for civil, substantive political discourse (as opposed to the bomb
      throwing of political media personalities). Why not, each month, bring together a




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      noted liberal and a noted conservative to debate a chosen topic? Make civility and
      substance the ground rules. Kaminsky might be surprised to find out how many
      liberals and conservatives there are who'd be relieved to find a political discussion
      that wasn't a shouting match.


      Keep Playboy Forum.
      This monthly section raises one hot-button topic, prints reader responses from
      previous installments, and scours the news to highlight the silliest infractions of civil
      liberties out there, like the story of a 16-year-old girl in Georgia recently sent to a boot
      camp for having sex with her 16-year-old boyfriend. Forum is the section where the
      magazine's liberal, feisty, commonsense approach to sex and to social questions still
      holds its head high.


      Keep the real girls.
      Ah, yes, the girls. Hefner tells the Observer that he doesn't want Playboy to compete
      with hardcore. And he's right. That's never been the magazine's character. But
      keeping to its relatively tame standards doesn't have to mean making the magazine a
      place for washed-up starlets to strip in hopes of reviving their careers. And it needn't
      mean maintaining the parade of Playmates who have been tweezed and buffed to
      inhuman perfection. Nobody ever believed Hefner's claim that the Playboy ideal was
      the girl next door, but it's startling to look through back issues and see that so many
      of the Playmates do look a lot more real than the current crop.


      Hefner still has final say in selecting Playmates, but he needs to be encouraged to
      broaden his taste by featuring the type of women you might see on the street or in
      the mall. More men than Hefner might imagine would find that an incredible turn-on;
      they'd bring the fantasy of Playboy a little closer to the attainable.


      Hefner is wrong when he tells the Observer that the underwear layouts in Maxim and
      FHM can have the same impact as a nude layout. (Nobody prefers the blue balls
      approach to sex.) But with second-tier TV stars stripping down to their undies, it
      shouldn't be tough to raise the bar and convince some famous women to pose nude
      for a classy layout. Some of the magazine's most memorable layouts have come
      from the collaboration of established photographers and famous models, like Peter
      Beard's layout of model Janice Dickinson in Africa, or Ellen von Unwerth's witty layout
      of Drew Barrymore. Playboy should also be looking for a diversity of talent behind the
      camera. The work of the fashion photographer Peter Lindbergh or the erotic
      photographer Steve Diet Goedde (whose photos are in a direct line of descent from
      the cheesecake art Hefner loves) would fit beautifully in Playboy.


      ------------




      I said I was pipe dreaming. But none of these suggestions are radical. One thing
      Kaminsky could do to improve his chances of succeeding would be to actively court
      new advertisers who could be sold on Playboy's vision of reviving its relevance and
      content. They needn't all be big advertisers. Above all, Kaminsky needs the freedom




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      to gamble. When Harold Hayes at Esquire commissioned his first cover from George
      Lois, a shot of a snarling Sonny Liston in a Santa Claus hat, the magazine lost nearly
      a million dollars in canceled advertising and subscriptions. Hayes dug in his heels
      and kept Lois, whose striking, sometimes caustic covers defined the magazine's
      identity.


      In the current market nobody can stand a million-dollar hit. But with the largest
      current circulation of any men's magazine, Playboy has more of a cushion than most
      magazines and can afford to take some chances.


      And that cushion isn't only financial. The best thing Kaminsky and Hefner have going
      for them is the backlog of affection Playboy has built among its readers. Not just
      because it was the first thing many American men masturbated to, but also because
      there was a reason to look at the magazine, post-wank. The time has come for the
      magazine to show up all the jerk-offs that have risen to challenge it.



        CHARLES TAYLOR
        Charles Taylor is a columnist for the Newark Star-Ledger.

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   By GREG KANDRA / CBS NEWS / August 14, 2007, 3:45 PM



   Was That Question A
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                                                                               (CBS)
   White House correspondent Bill Plante has seen a lot of presidents come and go --
   many by helicopter from the South Lawn.
   Yesterday, after the brief appearance President Bush made with Karl Rove, Bill
   decided to do what correspondents sometimes do: he yelled a question. That
   attracted no small amount of attention in the blogosphere, and Bill has now
   written about yesterday's experience over at Public Eye:

         Rove has been a controversial figure in this administration, the man
         most often credited or blamed with framing support for the war by
         politicizing terrorism.
         There was no time to frame that question because the event this
         morning was a statement, not a news conference. So I asked a more
         direct one. I thought it unlikely that they would answer, but it's always
         worth a try.

         This isn't the first time I've been blasted for yelling. Twenty or so years
         ago, I yelled a question at President Reagan as he left the Rose Garden
         after the annual Teacher of the Year ceremony.

         One woman wrote to tell me that I was a guest in the President's house
         and ought to be behave as one.

         Ten years ago, I asked President Clinton a question which brought a
         red-faced angry response.

         The point is that reporters are not here as guests. We're here to ask
         questions.

   Check out the rest of the story and draw your own conclusions.
   One thing is sure: we haven't heard the last of Karl Rove. Or Bill Plante.

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                Exhibit C
Washington Talk: The Presidency; Shouting Questions At Reagan - The New York Times Page 1 of 5
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Washington Talk: The Presidency; Shouting
Questions At Reagan
By Steven V. Roberts, Special To the New York Times

Oct. 21, 1987




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After a day of economic crisis and uncertainty, President Reagan commented tonight on
the state of the economy. But his remarks were made not in a prime-time address to the
nation or at a formal news conference, but on the back lawn of the White House, shouted
at reporters over the roar of a Presidential helicopter.

Such chaotic exchanges have become the primary way that Mr. Reagan communicates
with the press corps these days. Formal news conferences, announced well in advance
and held in a decorous setting, are practically an endangered species.

The White House says the President will answer questions soon, probably by the end of
the month, but few reporters would be surprised if the date slips. Despite repeated hints
that he would submit to questioning, Mr. Reagan has not held a nationally broadcast,
prime-time news conference in more than seven months.

Frustrated, reporters have become increasingly forceful - to some, ill-mannered - in
efforts to pry information out of the White House. Whenever the President appears within
shouting distance, he is now bombarded with high-decibel inquiries. A Purpose in
Answering

Often, the President does answer a shouted question, and usually he has a specific
purpose in mind. Today, for instance, he used the occasion to accuse Congress of causing
the budget deficit that has helped undermine investors' confidence in the stock market. At
other times, his remarks can cause him problems. Last week, he angered Democrats on
Capitol Hill with an off-the-cuff answer at a photo-taking session that impugned the
intelligence of his Senate critics.

Although these shouting matches occasionally produce useful information, few reporters
believe they are a good way of finding out what the President thinks. ''Progressively,
during Reagan's two terms, it's gotten worse,'' said Sam Donaldson, White House
reporter for ABC News. ''The reason we yell at Reagan in the Rose Garden is that's the
only place we see him.''




The impression is also developing in the press corps that Mr. Reagan's aides are shielding
him from news conferences because they are afraid he cannot handle the high-stakes
gamble of such a televised appearance. Reporters say that the President's hearing seems
to have deteriorated and that his command of spe-The Presidency Shouting Questions At
Reagan By STEVEN V. ROBERTS WASHINGTON, Oct. 20 - After a day of economic




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him from news conferences because they are afraid he cannot handle the high-stakes
gamble of such a televised appearance. Reporters say that the President's hearing seems
to have deteriorated and that his command of specific facts also seems to be slipping.

In an interview with Cable News Network last week, Mr. Reagan attacked three
Democratic Senators he said were leading a ''lynch mob'' against Judge Robert H. Bork,
his Supreme Court nominee. He named Edward M. Kennedy and Joseph R. Biden Jr., but
blanked on the third. Finally, after saying ''I'm sitting here desperate,'' he came up with
the name: Howard M. Metzenbaum.




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Marlin Fitzwater, the President's spokesman, dismisses as ''nonsense'' the theory that
aides fear having a news confernce. He said, however, that reporters had a ''legitimate''
complaint about the lack of news conferences. ''It's been tough for us to handle because of
Iran-contra,'' he explained, noting that the final report on the Congressional inquiry would
not be out until the end of this month. ''We made a conscious decision not to talk to the
press because we didn't want to add to the testimony. But from a press relations
standpoint, we paid a price.''

But to many students of government, Mr. Reagan's determined aversion to press
questioning does ''a fundamental disservice to the Presidency,'' in the words of Fred I.
Greenstein, a professor of politics at Princeton University. ''It does put him in what seems
to be a far more defensive position,'' the scholar said.

Marvin Kalb, a former network correspondent who directs the Joan Shorenstein Barone
Center on the Press, Politics and Public Policy at Harvard, has invited a group of
journalists, academics and politicians to spend the next year studying the problem and to
make recommendations to the next President.

''I start with a simple proposition,'' Mr. Kalb wrote in describing the project. ''The
Presidential news conference is a critically important means of communication between
the President and the American people. And yet it seems to be in a state of acute
disrepair.''

One sign of that disrepair was visible recently when Mr. Reagan presided over a Rose
Garden ceremony honoring outstanding schools. As he started to leave, reporters shouted
questions about Judge Bork.

Mr. Reagan was prepared to answer, but several teachers in the audience took offense,
with one of them shouting back at the reporters, ''You're taking away the joy of the whole
occasion for us.''

Reporters who cover the White House say the shouting sessions are caused mainly by
their lack of contact. Mr. Reagan has held 40 news conferences in 80 months in office. In
1987 he has held only two, one last March after the Tower Commission issued its report on
the Iran-contra affair, the other in June after the economic summit in Venice.

By contrast, former Presidents Jimmy Carter and Gerald R. Ford averaged more than one
news conference a month. And both were far more accessible on an informal basis.

''With Carter, we would see him two or three times during a working day,'' Mr. Donaldson
noted, ''and he'd always answer two, three, four questions.''




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Bill Plante, the senior White House reporter for CBS News, says the White House likes all
the shouting and actually promotes it, for it gives the President a chance to answer a
question when it suits his purpose and to stay silent when it does not.

''And what does the public see?'' Mr. Plante wrote in a recent Op-Ed article in The
Washington Post. ''A genial Ronald Reagan, skillfully parrying the thrusts of an unruly
mob of reporters.''

Mr. Fitzwater has a different view of the shouting. ''The phenomenon is almost totally
television,'' he said. ''It's primarily a function of the intense competition and economics of
the business. Correspondents are paid so much money it forces them to go to
extraordinary lengths, not for quality information, but just to get on the air with
something.''

That competition got so heated recently that Mr. Donaldson and Chris Wallace, a White
House reporter for NBC News, engaged in a shoving match over positions in the briefing
room to broadcast their reports.

To Mr. Fitzwater, competition among the network stars has been intensified by the
growth of smaller television operations that have their own crews at the White House and
are bidding for more of the market. The Importance of Pictures

Some television reporters agree that the nature of their business encourages them to
compete for the President's attention. But the reason, they say, is that information is of
little use to them unless they have pictures to go with it. A President saying even one
word on camera is worth 1,000 words on paper.

''We're talking videotape!'' Mr. Donaldson said.

To reporters covering the White House, a news conference remains the only way to obtain
certain kinds of information. When a President is not reading from a prepared script, he is
more likely to provide a glimpse of his true emotions or priorities.

Moreover, news conferences offer a rare chance to evaluate a President's physical and
mental well-being. ''There's a kind of humanizing quality to a President being out there,''
Professor Greenstein said. ''It shows he's healthy, he hasn't gone out to lunch
psychologically. We've come to expect the chance to check the vital signs of a President
periodically.''

A version of this article appears in print on Oct. 21, 1987, Section B, Page 4 of the National edition with the headline: Washington Talk: The
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                Exhibit D
White House press corps broken beyond repair - Washington Times            Page 1 of 4
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The White House press corps is broken beyond repair




By Joseph Curl - - Tuesday, June 19, 2018


ANALYSIS/OPINION:


It all really began with Sam Donaldson. Back in the days of Ronald Reagan, the brash and cantankerous reporter with the worst
toupee in television history made his name by yelling at the president. He’d yell at him at White House events, on the South Lawn
(where Reagan would pretend he couldn’t hear Donaldson over the chopper blades of Marine One), even in the Rose Garden.


His aggressiveness (read: bad behavior) made Donaldson one of the first “star” reporters at the White House. (He was voted best
television correspondent in 1986, ‘87, ‘88 and ‘89 by readers of the Washington Journalism Review.) Sure, there had been other
famous reporters (early Helen Thomas, Bill Plante, Merriman Smith), but all of them conducted themselves with the proper
decorum and respect when covering the White House.


Since then, it’s only gotten worse. Bill Clinton got a pass from the mostly liberal mainstream media, but when George W. Bush
took office, the White House press corps went to hell.


Chief among the “journalists” who sought fame covering the White House was NBC News’ David Gregory. He rudely interrupted
Mr. Bush at press conferences and berated White House press secretary Scott McClellan at daily briefings. Mr. Bush had a name
for it: “Peacocking.” And it worked for Mr. Gregory: He blasted up the ladder at NBC and eventually took over as host of “Meet the
Press” (at least until the show’s ratings got so bad that the network canned him).




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And now, with Donald Trump as president, it’s all exploded. There’s no decorum at all at the White House anymore. “Journalists”
routinely go on extended rants, yell at the press secretary, and grandstand in the briefing room with lengthy (and heavily biased)
speeches.




Like last week, when Brian Karem, who the Daily Mail says is “a Playboy magazine writer who covers the White House for a tiny
Maryland newspaper,” went on a tirade.


When press secretary Sarah Sanders explained the administration’s stance on immigration, Mr. Karem jumped in, yelling at Mrs.
Sanders.


“You’re a parent! Don’t you have any empathy? Come on, Sarah!” he yelled. “You’re a parent! Don’t you have any empathy for what
these people are going through? They have less than you do! Sarah, come on! Seriously!”


Mrs. Sanders was cool. “Brian. Gosh. Settle down. I’m trying to be serious, but I’m not going to have you yell out of turn.” As she
tried to move on, Mr. Karem yelled over the room. “‘You’re telling us this is the law, and these people have nothing! They come
here with nothing!” he shouted.


Mrs. Sanders got the last word. “I know you want to get some more TV time, but that’s not what this is about. I’m not going to
recognize you,” she said.


The next day, CNN actually interviewed Mr. Karem about his outburst. He offered a self-serving (and pretentious) apology, then
declared: “I am extremely angry at this administration that has lied to me, continues to lie to me. … I’m sorry that as a reporter for
so long I thought that I … I forgot that my job is to comfort the afflicted, afflict the comfortable and ask questions for those that
have no voice.”




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Mr. Karem is following the lead of CNN’s Jim Acosta, who routinely attacks Mrs. Sanders and interrupts Mr. Trump. While Mr.
Trump was signing a document with North Korean leader Kim Jong-un last week, Mr. Acosta shouted: “Mr. President, did we agree
to denuclearize?” After the two leaders exited, Mr. Acosta was caught on a hot mic saying, “Hey, if they’re not going to let me in the
f–ing meeting, then that’s what happens,” according to The Gateway Pundit.


The new fame seekers in the White House are following the lead of liberals nationwide, like late-night talk show hosts, B-list actors
and mediocre comedians. After comedian Samantha Bee called first daughter Ivanka Trump a “feckless c—t,” Kathy Griffin — who
made headlines when she released photos showing her holding a bloody decapitated head that looked like Trump — came out
and called first lady Melania Trump a “feckless piece of s—t.”


The Trump White House, fed up with the “peacocking,” experimented with off-air briefings. Everything was on the record, but with
no cameras, they reasoned, there’d be no grandstanding. It didn’t work.


Mr. Trump, who has decried fake news for years, even once suggested pulling the White House passes from some “journalists.”


“The Fake News is working overtime,” he tweeted in May. “Just reported that, despite the tremendous success we are having with
the economy & all things else, 91% of the Network News about me is negative (Fake). Why do we work so hard in working with the
media when it is corrupt? Take away credentials?”


But that won’t work, either. The new paradigm is attack — as crudely and profanely as possible — in the esteemed mission to “ask
questions for those that have no voice.”


The idea now is, make headlines. BE the news. Yes, America, that’s the state of journalism today. Fake news indeed.


⦁ Joseph Curl covered the White House and politics for a decade for The Washington Times. He can be reached at josephcurl@gmail.com
and on Twitter @josephcurl.


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                Exhibit E
Picking Bush's Brain - CBS News                                            Page 1 of 19
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  Picking Bush's Brain

  BY MATTHEW FELLING
  AUGUST 14, 2007 / 9:56 AM / CBS NEWS




                                                                                           (CBS)
  One of the accidental subplots to Karl Rove's departure yesterday was a
  question directed to President Bush by CBS White House correspondent
  Bill Plante at Rove's farewell press event. His question was picked up by
  a DC media blog and generated many responses. So we asked Bill for his
  side of the story, which follows.


  As the President and Karl Rove walked away from the lectern after their
  emotional announcement of Rove's resignation, I yelled a question.




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                                                                                  LIVE
  "If he's so smart, why did you lose Congress?"


  The President, as usual, didn't answer.



  Trending News



  That's OK – he doesn't have to if he doesn't want to.


  But judging by some of the reaction, you'd think I had been shouting obscenities
  in church!


  "Unprofessional;" "Inappropriate;" "Unbecoming;" "Doesn't show much class;"
  "you are a total idiot;" "Shill for the liberal Democrats."


  People who sympathize with the President – no matter who the President
  happens to be – always seem to think it's impolite to yell questions. Or they
  argue that the question is inappropriate at the moment. That may sometimes be
  true, but not [this time].


  Rove has been a controversial figure in this administration, the man most often
  credited or blamed with framing support for the war by politicizing terrorism.


  There was no time to frame that question because the event this morning was a
  statement, not a news conference. So I asked a more direct one. I thought it
  unlikely that they would answer, but it's always worth a try.


  This isn't the first time I've been blasted for yelling. Twenty or so years ago, I
  yelled a question at President Reagan as he left the Rose Garden after the
  annual Teacher of the Year ceremony.



https://www.cbsnews.com/news/picking-bushs-brain/                                23-Aug-19
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  One woman wrote to tell me that I was a guest in the President's house and
  ought to be behave as one.


  Ten years ago, I asked President Clinton a question which brought a red-faced
  angry response.


  The point is that reporters are not here as guests. We're here to ask questions.


  Why?


  Because if we were ever to agree to "behave," we'd be walking away from our
  First Amendment role – and then we really would be the shills we're so often
  accused of being.




https://www.cbsnews.com/news/picking-bushs-brain/                            23-Aug-19
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                Exhibit F
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                POLITICS




Stephanie Grishamʼs Turbulent
Ascent to a Top White House Role
By Elizabeth Williamson

Aug. 22, 2019


WASHINGTON — Stephanie Grisham doled out fast food and tracked lost gear as a press wrangler on President Trump’s
2016 campaign, far from the in-crowd flying on the gold-plated Trump jet. An early and hard-working convert to Mr. Trump’s
cause, she told a reporter at one point that she was “riding it until the money runs out,” eager to return home to Arizona.

Instead, Ms. Grisham, 43, rode all the way to Washington with Mr. Trump. And now, after serving in the press office and as
Melania Trump’s spokeswoman, she occupies one of the most prestigious roles in American politics, as White House press
secretary and communications director for both the president and the first lady.

For a public relations specialist who once churned out news releases on traffic safety, the White House is the loftiest stop in a
turbulent career trajectory that has mixed toughness and loyalty to her bosses with professional scrapes, ethical blunders
and years spent alternately wooing and pounding the press on behalf of scandal-prone Arizona Republicans.

“I’ve always had a picture of the White House and it would always sit right in front of my desk” in the Arizona Capitol, Ms.
Grisham told a local television interviewer from the state shortly after joining the administration. “Whenever I was having a
hard day I could look at it and remember what my goal was.”

While Ms. Grisham is still developing her working relationship with the president, she has been less focused on crafting and
delivering the White House’s message than on acting as a behind-the-scenes organizer for a president intent on selling and
defending himself.

[One of Ms. Grisham’s predecessors, Sarah Huckabee Sanders, is joining Fox News as a contributor.]

In the nearly two months since Ms. Grisham was named to her current role, she has not held a single on-camera briefing. She
has most recently been in the news for suspending a reporter’s White House pass for a month.




In an interview last week with Eric Bolling of Sinclair Broadcast Group, the only interview she has granted since her move to
the West Wing, Ms. Grisham said it was up to the president whether to reinstate the daily White House briefing. “He’s so
accessible, so right now I think that that’s good enough,” she said.

Ms. Grisham is the latest example of Mr. Trump’s tendency to value loyalty and an embrace of his unorthodox style ahead of
other credentials when filling top jobs.




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            POLITICS




                             Ms. Grisham is the latest example of President Trump’s tendency to value loyalty and
                             an embrace of his unorthodox style ahead of other credentials when filling top jobs.
                             Doug Mills/The New York Times




Her career history contains red flags that most administrations might deem troubling. They include losing a private-sector
job after being accused of cheating on expense reports, a later job loss over plagiarism charges and two arrests for driving
under the influence, the second while working on Mr. Trump’s campaign.

Colleagues say that on the campaign and in the White House, Ms. Grisham has been a coolheaded, encouraging presence.
“When we were tired, she’d tell us, ʻKeep going,’” said Hannah Salem, a White House aide. “She was one of our biggest
cheerleaders on the road.”

After Mr. Trump took office, Ms. Grisham joined the White House press office, but soon fled its upheaval and infighting for a
job as Mrs. Trump’s communications director, becoming a staunch protector of the first lady.

Ms. Grisham, who repeatedly declined to respond to questions for this article, keeps a low public profile in Washington. Twice
divorced, she is the mother of two sons, one in his early 20s and one in grade school.

From her bosses, Ms. Grisham “gets a lot of praise for being loyal,” said David Bodney, a media lawyer in Arizona who
tangled with Ms. Grisham over reporter access to public records when she worked in state government there.

“But her job is to make information available,” Mr. Bodney said. “She’s now in a unique position to either serve or frustrate
the public interest. Unfortunately, her tenure in Arizona does not bode well.”

Ms. Grisham got her start in national politics as a press aide on Mitt Romney’s 2012 presidential campaign. But she had
worked for some time before that in public relations, including a job with the AAA auto club in Arizona, which hired her in late
2006 to help with “public relations, traffic safety initiatives and legislative efforts,” according to an announcement in The
Tucson Citizen.

Ms. Grisham was gone within about a year. A former AAA employee with direct knowledge of the matter said Ms. Grisham
left after accusations that she filed false claims for travel and other expenses. A spokeswoman for AAA Arizona declined to
discuss personnel matters.

Ms. Grisham lost a subsequent job after an accusation of plagiarism.

She had gone to work for an advertising agency in Arizona whose clients included a start-up called GarageFly, an online
service that helps car owners find auto repair shops. While making a presentation to the Arizona Governor’s Office of
Highway Safety, GarageFly’s founder showed off his website. In an interview, he said he was quickly informed by a furious
attendee from AAA that the website included material lifted verbatim from AAA.




https://www.nytimes.com/2019/08/22/us/politics/stephanie-grisham-press-secretary.html?... 23-Aug-19
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           POLITICS




                             Ms. Grisham got her start in national politics as a press aide on Mitt Romney’s 2012
                             presidential campaign. Stephen Crowley/The New York Times



GarageFly’s founder said he had not known because the website was created by GarageFly’s ad agency, Mindspace. And the
Mindspace employee responsible for placing the AAA material on the GarageFly website turned out to be Ms. Grisham,
according to two other people involved in the matter. Ms. Grisham lost her job. The agency’s owner, Brent Shetler, confirmed
Ms. Grisham’s employment but declined to discuss the reasons for her departure.

Ms. Grisham declined to address questions about her departures from AAA and Mindspace.

Ms. Grisham shifted toward politics, working from 2008 to mid-2010 as a spokeswoman for the Arizona Charter Schools
Association and in 2011 as a spokeswoman for Tom Horne, Arizona’s attorney general.

In 2012, Ms. Grisham took time off to work as a press aide on Mr. Romney’s presidential campaign. There, colleagues praised
her organizational skills and sense of humor.

After Mr. Romney’s loss, “I was devastated for about a month,” Ms. Grisham said in the 2017 television interview. She
returned to the attorney general’s office, where in 2014, Ms. Grisham fielded national press inquiries about a botched
execution by the state. She described the condemned prisoner, who did not die for nearly two hours after being given a lethal
injection, as “snoring” and said of the scene, “It was quite peaceful.”

Mr. Horne spent much of his tenure under investigation for alleged campaign finance violations.

When reporters from The Arizona Republic asked for public records related to the case, Ms. Grisham criticized their requests
as “overreaching, an invasion of privacy and abusive use of your role in the media.” Mr. Horne lost his re-election bid and
was fined in the campaign finance case.

Ms. Grisham next worked as a spokeswoman for the Arizona House’s Republican majority. In 2016 she revoked The Arizona
Capitol Times’s press credentials four hours after the newspaper published an article, written by Hank Stephenson, detailing
allegations that the House speaker, David Gowan, had traveled at state taxpayers’ expense while campaigning for Congress.

The fight culminated in Mr. Gowan requiring that reporters covering the Legislature submit to a personal and criminal
background check. Those with convictions for serious crimes — and oddly, misdemeanor trespass — would be barred from
the House floor.

Ms. Grisham billed the edict as a security measure. But Mr. Stephenson was the only Statehouse reporter with a trespassing
charge on his record, related to a tavern fracas. Reporters refused to comply, and Mr. Gowan backed down.

Mr. Stephenson said he does not hold anything against Ms. Grisham, who often socialized with reporters in Phoenix, and
even starred in a 2015 video made by The Capitol Times that spoofed her role as spin master.




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                     POLITICS




                                                    Ms. Grisham intends to remain a behind-the-scenes player, a change from her
                                                    predecessor as press secretary, Sarah Huckabee Sanders. Doug Mills/The New York Times



“She’s fun,” Mr. Stephenson said. “She has a reputation as someone who puts out fires. But she starts a number of fires
herself.”

In mid-2015 Ms. Grisham began working for Mr. Trump’s campaign.

In December 2015 in Arizona, Ms. Grisham was arrested for driving under the influence. She pleaded guilty and was fined,
and in August 2016 the court ordered her into a treatment program. It was a second offense: In 2013 she was arrested for
driving under the influence, speeding and driving with an invalid license.

The 2013 charges were reduced in 2014 to reckless driving, according to court records. Ms. Grisham has told The New York
Times that she complied with all sanctions and disclosed both episodes to the White House.

Last year, while working in the East Wing, she helped launch “Be Best,” the first lady’s anti-cyberbullying, anti-opioid
campaign. When news emerged that a Be Best guide called “Talking With Kids About Being Online” was actually created in
2009 by the Obama administration, Ms. Grisham began a fierce defense against the plagiarism charge.

“I encourage members of the media to attempt to Be Best in their own professions,” she said.

In the West Wing, friends and former co-workers say, Ms. Grisham intends to remain a behind-the-scenes player. But she has
shown a willingness to publicly assail those who displease the president.

“People who survive and thrive in Trump world are the people who come to grips with the reality that you’re just going to
have to go where Trump wants to go, and echo what the president says,” said Cliff Sims, a former White House aide and
friend of Ms. Grisham’s.

On Mr. Trump’s trip to Asia in June, Ms. Grisham earned plaudits from reporters after confronting North Korean guards
trying to bar American journalists from Mr. Trump’s meeting with the country’s leader, Kim Jong-un.

During a news conference with Mr. Trump and the South Korean president, the Korean hosts asked Ms. Grisham to select an
American reporter to ask a question. “I’m going to let our president choose,” she responded.

Mr. Trump beamed. “She’s learned very well,” he said.

Maggie Haberman contributed reporting. Kitty Bennett contributed research.

A version of this article appears in print on Aug. 23, 2019, Section A, Page 1 of the New York edition with the headline: Turbulent Rise For New Voice Of Oval Office



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                Exhibit G
Let’s ‘gut check’ all of Trump’s vulgar, unpresidential statements - The Washington Post Page 1 of 4
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   The Washington Post

Opinions

Let’s ‘gut check’ all of Trump’s vulgar, unpresidential
statements

By Dana Milbank
It was an exemplary week for presidential misbehavior.

President Trump had an international tantrum over Denmark’s refusal to sell him Greenland.

He invoked the anti-Semitic trope that American Jews have a dual loyalty to Israel.

He proclaimed himself the Messiah.

Along the way, he used shooting victims for self-promotion, said he wanted a medal for military
valor, and more.

In this divided land, there is broad agreement on one thing: Our president is unpresidential.

A Post/ABC News poll released last month found that two-thirds of Americans find Trump
“unpresidential” and only 28 percent say his actions are “fitting and proper.” Trump himself has
acknowledged that some of his behavior is “not at all ‘Presidential’.”

It’s hard to say for sure whether Trump was more undignified this week compared with most
others. This is, after all, a man who boasted publicly about his genitals, uses words such as “bull----
,” “p---y,” “goddamn” and “little Schitt” in public, misspells tweets, talks of women bleeding,
proclaims himself a “stable genius” with a “very large brain,” “fell in love” with North Korea’s
dictator, paid hush money to a porn actress, shoved a prime minister, wore an ill-fitting vest to visit
Queen Elizabeth and praised the “shape” of France’s first lady.




He also let Kanye West loose in the Oval Office, prayed for higher ratings for “The Apprentice” at a
prayer breakfast , spoke of “raking” forests, hugged an American flag, dragged toilet paper from his
shoe, suggested the Clintons murdered Jeffrey Epstein, described neo-Nazis as “very fine people,”
and, when told by a rape victim that the Islamic State killed her family, replied: “Where are they
now?”




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But maybe there is a way to calibrate vulgarity. Post Fact Checker Glenn Kessler and his team have
documented more than 12,000 false or misleading statements by Trump using the Pinocchio
system: from one Pinocchio for “shading” facts to four for “whoppers.” Rare, unexpectedly true
statements earn a Geppetto.

Instead of a fact check, I propose a “gut check” of how unpresidential Trump is. Instead of Geppetto
and Pinocchio, this uses Beauty and the Beast. Where Kessler’s work is objective and researched,
this will be arbitrary and slapdash — like Trump’s policies.




One Beast: Routinely unpresidential.

Two Beasts: Extra gross, vulgar, narcissistic.

Three Beasts: Downright beastly, uncouth, uncivilized.

Four Beasts: A wild rumpus. We weep for our country.

On the rare instances when he behaves in a “presidential” manner (usually a teleprompter is
involved), he will be assigned a “Beauty.”

This week, the Gut Checker awards Trump one Beast each for:

● Again describing the “evil” free press with the Stalinist phrase “Enemy of the People.”

● Promoting Sean Spicer on “Dancing With the Stars.”

● Boasting about breaking Elton John’s crowd-size record.

● Badgering the Federal Reserve chairman he appointed as the “enemy” and “a golfer who can’t
putt.”

● Describing Fox News’s Juan Williams as “pathetic,” sycophantic, “nasty and wrong.”

● Threatening not to let Fox News host a presidential debate because he didn’t like his favorite
network’s latest poll.




● Threatening to release Islamic State fighters into Germany and France.




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● Claiming Google “manipulated” some 16 million votes in 2016.

All routine breaches of decorum for Trump. All unpresidential.

The Gut Checker awards two Beasts each for:

● Telling reporters he might not vacate the White House for “maybe 10 or maybe 14” years —
regardless of what the Constitution says; and using imaginary powers to say U.S. companies are
“hereby ordered” to find alternatives to Chinese markets.

● Resuming his attacks on four nonwhite women in Congress, mocking one’s “tears” and accusing
her of being “violent.”

● Calling former aide Anthony Scaramucci a “highly unstable ‘nut job’ ” and a “mental wreck” guilty
of “gross incompetence.”

Three Beasts:

● Saying hospitalized victims of mass shootings paid tribute to him. “They love their president,” he
said, in an “unparalleled” way. “They were pouring out of the rooms. The doctors were coming out
of the operating rooms.”




● Expressing desire to receive the Medal of Honor, the highest award for valor against an enemy
force, despite draft deferments for bone spurs. “I wanted one, but they told me I don’t qualify. . . .
I’d say, ‘Can I give it to myself anyway?’ They said, ‘I don’t think that’s a good idea.’ ”

● Tweeting the words of a racist conspiracy theorist who said Israelis view Trump like “the King of
Israel” and “the second coming of God.” He later claimed he’s “the chosen one.”

Four Beasts:

● Canceling his trip to Denmark and twice calling its prime minister “nasty” because she labeled as
“absurd” Trump’s absurd plan to buy Greenland.

● Accusing nearly 80 percent of American Jews of ignorance or “great disloyalty,” and after an
outcry by Jewish leaders, repeating the slander.

One week, zero beauties and 31 beasts — a full herd and, by any measure, an impressive stable of
rude, crude and undignified behavior. But if we as a nation can agree that our president is
unpresidential, experience should also allow us to agree on this: Next week might well be worse.




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                Exhibit H
Before CNN’s Jim Acosta, White House reporters Sam Donaldson, Helen Thomas and Sa... Page 1 of 3
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   The Washington Post

Retropolis

The White House reporters who made presidents fume long before Jim Acosta

Before the CNN correspondent, there was Gannett’s May Craig,
ABC’s Sam Donaldson and UPI’s Helen Thomas
By Ronald G. Shafer
November 18, 2018
“What have you done for women?” one persistent reporter pressed then-President John F. Kennedy.

“Well, I’m sure we haven’t done enough,” Kennedy responded with a laugh to Gannett’s May Craig in
November 1961.

The exchange was much more friendly than the recent confrontation between President Trump and
CNN’s Jim Acosta that prompted the administration to ban the reporter from the White House. On
Monday, CNN dropped its lawsuit against the White House after officials told the network that they
would restore Acosta’s press credentials as long as he followed a new set of rules. The move follows a
federal judge’s order on Friday that the reporter’s credentials be restored.

Acosta isn’t the first White House reporter to make waves at presidential news conferences. Craig,
wearing a hat with flowers, was one of the first attention-getting reporters. Sarah McClendon and Helen
Thomas posed tough questions for decades. ABC’s Sam Donaldson also drew notice with his aggressive
questioning of presidents. But none were banned from the White House.

Reporter banishment is a new chapter in presidential news conferences, which began with Woodrow
Wilson in 1913. President Eisenhower started the first televised news conferences in 1955, but these
were recorded and selected clips that were released to the press later.




Kennedy began live televised news conferences on Jan. 25, 1961. He often called on 72-year-old Craig,
who was a seasoned war correspondent. On the woman question, Kennedy answered further: “I must
say I am a strong believer in equal pay for equal work, and I think that we ought to do better than we’re
doing. And I’m glad that you reminded me of it, Mrs. Craig.”

McClendon, who headed a group of small newspapers in Texas, brought what she called “a pushy and
sometimes confrontational” style to news conferences. In 1958, she pressed Eisenhower on why his
administration wasn’t doing more to combat the recession. The president’s face reddened, and he
clenched his fist as he began his answer: “Now, look …”

McClendon’s tactics sometimes got results. At a news conference in early 1974 she complained to then-
President Richard Nixon that some Vietnam veterans were running into delays getting government
checks to pay for college. When Nixon said the problem had been addressed, McClendon retorted: “No,
you’re just misinformed.”




The president later said in a radio broadcast that because of questions from “a very spirited reporter” he
had ordered changes. “Sarah McClendon,” Nixon once said, “asks questions that no man would ever
think of.”

Not everybody appreciated the “little lady with the big voice,” as McClendon described herself. President
George H.W. Bush warned her, “The loudest voice won’t always get recognized because it isn’t fair to the




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others.” Eric Sevareid of CBS News said McClendon was a “lady who has been known to give rudeness a
bad name at times.” McClendon died in 2003 at age 92.

Thomas started covering the Kennedy White House for United Press International in 1961. She
immediately gained a reputation as a tough questioner. Kennedy said of her, “Helen would be a nice girl
if she’d ever get rid of that pad and pencil.”




Thomas didn’t stop asking pesky questions. When President Clinton called on Thomas to ask the first
question following revelations about his sexual relationship with Monica Lewinsky, Thomas said, “You
may not like it.” She then pressed Clinton about his previous denials of any involvement. When George
H.W. Bush announced that the defense budget wouldn’t be cut after the collapse of the Soviet Union and
the fall of the Berlin Wall, Thomas asked him, “Who’s the enemy?” In 2006, she asked President George
W. Bush, “Why did you really go to war” in Iraq?

In 1975, Thomas became the first female president of the White House Correspondents’ Association. She
quit UPI in 2000 and soon joined the Hearst newspapers. Her long career abruptly ended under a cloud
of controversy in 2010 after Thomas, who was of Lebanese descent, said Jews should leave Palestinian
territories. She died in 2013 at age 92.

ABC’s Donaldson became known for shouting questions at presidents Jimmy Carter and Ronald
Reagan. Donaldson was all business all the time. When Reagan talked to reporters about his meeting
with Mother Teresa, Donaldson bellowed: “What about the tax bill?"




Some confrontations took place in the press briefing room that Nixon had installed over the White
House swimming pool. Reagan’s press secretary James Brady joked the president planned to install a
button on his podium that he could press to open a trap door under reporters “who got out of line.” The
briefing room is now named after Brady, who was shot and badly wounded during the 1981 attempted
assassination of Reagan. Brady died in 2014.

Donaldson’s bluster never led to his being banned. Indeed, Reagan seemed to enjoy the confrontations.
Once when the TV newsman asked Reagan whether he took any blame for the lingering recession in the
early 1980s, the president quipped, “Yes, because for many years I was a Democrat.” Donaldson, who
retired in 2013, is supporting the CNN lawsuit challenging the White House ouster of Acosta after
Trump called the reporter “a rude, terrible person.” Donaldson, now 84, said, “President Harry Truman
summed up the necessary interplay between a president and the press corps when he advised
government officials at every level: ‘If you can’t take the heat, get out of the kitchen.’”

Even some journalists say Acosta sometimes draws too much attention to himself, but that pushing for
answers is the job of White House reporters. As Thomas once said, in the arena of presidential news
conferences, “There are no rude questions.”




Ronald G. Shafer is a former Washington political features editor for the Wall Street Journal.

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The thin-skinned president who made it illegal to criticize his office

How Harry S. Truman went from being a racist to desegregating the military

Move over, Trump. This president’s two lions set off the greatest emoluments debate.


Ronald G. Shafer
Ronald G. Shafer is a former editor at the Wall Street Journal and the author of "The Carnival Campaign: How The Rollicking 1840 Campaign of Tippecanoe and Tyler Too Changed P




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 Obama interrupted by heckling reporter
 By BYRON TAU and DONOVAN SLACK | 06/15/2012 02:32 PM EDT




 In a surprising breach of etiquette, President Barack Obama's Rose Garden remarks on
 Friday were interrupted by heckling from reporter Neil Munro of the website Daily Caller,
 whose editor-in-chief is conservative commentator Tucker Carlson.

 Obama, announcing a change of policy that would allow the children of illegal immigrants to
 avoid deportation if they meet certain criteria, was interrupted mid-speech by Munro.




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 "Why’d you favor foreigners over Americans?” Munro shouted.

 “Excuse me, sir, but it’s not time for questions," Obama responded.

 “Are you going to take questions?” Munro asked.

 “Not while I’m speaking.” Obama said.

 (Also on POLITICO: Tucker Carlson defends heckler)

 While it's not unusual for Obama to be interrupted by occasional hecklers at big public
 events, the fact that a reporter brought Obama's speech to a halt startled members of the
 White House press corps.

 Obama, who generally ignores shouted questions from reporters at the end of press events,
 later addressed Munro's question after finishing his remarks uninterrupted.

 “In answer to your question, sir — and the next time I’d prefer you’d let me finish my
 statement before you ask that question — is this is the right thing to do for the American
 people," Obama told Munro.

 Mobbed by reporters after the event, Munro was asked if he would give his name.

 “Yeah, but you’ll misspell it,“ he said.

 Munro, according to his Twitter bio, has worked as a reporter for Defense News,
 Washington Technology and the National Journal.

 "As a general matter, reporters are there to ask [questions]," Carlson told The New York
 Times's Brian Stelter. Carlson did not immediately respond to a question from POLITICO.
 The Daily Caller's account later tweeted that the organization was "proud" of Munro.

 UPDATE: In a statement, Munro said he misjudged when Obama was ending his speech.

 "I timed the question believing the president was closing his remarks, because naturally I
 have no intention of interrupting the President of the United States," Munro said in a
 statement posted on the Caller's website. "I know he rarely takes questions before walking
 away from the podium. When I asked the question as he finished his speech, he turned his
 back on the many reporters, and walked away while I and at least one other reporter asked
 questions," he said.




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 President Obama reacts to being interrupted during Rose Garden remarks. | Donovan
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                Exhibit J
Obama scolds reporter for asking question at press conference - Washington Times Page 1 of 3
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Obama scolds reporter for asking question at press
conference
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President Obama scolded a journalist Tuesday for shouting out a question — at a press conference — about illegal immigration
from Central America.


“I appreciate you shouting out a question, since I’m sure there are a lot of colleagues of yours who would like to do the same,” Mr.
Obama told the reporter sarcastically.


The president was wrapping up a news conference with Italian Prime Minister Matteo Renzi in the White House Rose Garden
when the scolding came. By arrangement, Mr. Obama and Mr. Renzi had agreed to take only four or five questions from Italian
and American journalists who were selected by the leaders’ staff beforehand.




PHOTOS: See Obama's biggest White House fails




Mr. Obama was discussing the challenges of illegal immigration when Washington Post reporter David Nakamura, who wasn’t on
the pre-approved list of questioners, called out a question for Mr. Obama about his policies on illegal immigration from Central
America.




https://www.washingtontimes.com/news/2016/oct/18/obama-scolds-reporter-question-pres... 8/25/2019
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“That’s what I just said, I said on Central America they have increased. Why are you —” Mr. Obama asked with a tone of irritation.




When the reporter persisted, Mr. Obama replied, “Actually, David, they [illegal immigrants] spiked heavily in 2014, went down
significantly in 2015, have gone back up this year in part because there’s still desperation in Central America. But they’re still not at
the levels they were in 2014.”




PHOTOS: 13 Things Liberals Want To Ban




Nearly 409,000 illegal immigrants were nabbed at the U.S.-Mexico border in fiscal 2016 — up from about 331,000 a year earlier.
Homeland Security officials say the increased arrests also mean an increase in the number that are sneaking by them.


The number of illegal immigrants traveling as families also rose, reaching a record high of 77,674.


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                Exhibit K
Trump's 'chopper talk' news conferences blow away White House press corps: report | Fo... Page 1 of 6
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  Trump's 'chopper talk' news conferences blow away
            White House press corps: report
                                                By Danielle Wallace | Fox News




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  Some reporters are complaining that President Trump’s recent "gaggles" on the White
  House lawn -- as Marine One’s helicopter rotors blare in the background -- make it more
  difficult for them to hold the president accountable and paints them in an unprofessional
  light, according to a report.




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  “If he was at a podium, we would be pressing him after he answers the question, we would
  be correcting him, we would be pointing out discrepancies in previous answers, and we’re
  not able to do that in the chaotic setting of a departure,” CBS News White House
  correspondent Weijia Jiang told Politico. “Many times I’ve tried to ask a follow-up
  question, but he’s already pointed to somebody else.



     “Many times I’ve tried to ask a follow-up question, but
     he’s already pointed to somebody else."
                                                                          — Weijia Jiang, CBS News


  “He’ll just hear a word that catches his attention like ‘racism’ or ‘the Squad’ or whatever
  the topic is, and he’ll just deliver what he’s probably already been tweeting about and what
  he already firmly believes so that can be difficult,” Jiang said.



  PLAYBOY'S BRIAN KAREM FILES LAWSUIT AGAINST TRUMP, GRISHAM FOR
  SUSPENDING WHITE HOUSE PASS




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  But others say the brief, near-daily news conferences, dubbed “chopper talks” by late-night
  host Stephen Colbert, make the president more accessible than his predecessors who
  delegated the role of talking to reporters to their White House press secretaries during far-
  less frequent on-camera West Wing briefings.

  “President Trump communicates directly with the American people more than any
  president in history,” White House press secretary Stephanie Grisham told Politico, when
  asked about Trump’s interactions with the media. “The fact that the White House press
  corps can no longer grandstand on TV is of no concern to us.”


     “President Trump communicates directly with the
     American people more than any president in history. The
     fact that the White House press corps can no longer
     grandstand on TV is of no concern to us.”
                                                  — Stephanie Grisham, White House press secretary


  Grisham said she does not “know what any of the press could complain about” given they
  have nearl-daily access to the president when he stops to take their questions on the
  White House lawn.

  Trump's “chopper talks” can last as briefly as a few minutes to as long as about a half-
  hour. The president scans a crowd of reporters, calling on some while ignoring others, and
  shouts answers over the noise — the wind often whipping his tie over the shoulder —
  before he then walks off all while the cameras are rolling.

  According to CBS News White House correspondent Mark Knoller, who keeps detailed
  records of the presidency, Trump has stopped to answer reporter questions -- both
  departing or arriving to the White House on Marine One and on the tarmac before or after
  riding Airforce One -- more than 80 times. He said he found only three instances when
  former President Barack Obama similarly spoke to reporters in transit and, during such
  times, he used a podium.

  While several reporters interviewed by Politico said they appreciated the frequent access,
  they believed the set-up on the lawn purposefully depicts media as unruly, unkempt and
  professional. Jiang described how she often has to do “a lot of gymnastics” and duck
  under tripods and over equipment to get close enough. The noise of the chopper also
  makes their questions inaudible on broadcasts, reporters said.




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  “There’s no question that it works to his advantage that we look unruly and disorderly,”
  veteran New York Times White House reporter Peter Baker told Politico. “It’s not like
  standing at a podium in the East Room or the briefing room, where you can have a
  civilized calling on people who raise their hands.”

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  The Trump administration has not held a formal White House press briefing in more than
  five months, Politico reported. When Trump first took office, press secretary Sean Spicer
  held frequent briefings. The amount and lengths of briefings dwindled under Sarah
  Huckabee Sanders. Grisham has not hosted a briefing since taking the job in June.

  Former President Obama held 24 solo news conferences during his first 30 months in
  office, compared to Trump’s eight during that time span, Knoller said. Obama’s
  administration held daily news briefings, while Trump takes to Twitter almost every day to
  communicate with the public.




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                Exhibit L
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                                U.S. OFFICE OF SPECIAL COUNSEL
                                       1730 M Street, N.W., Suite 218
                                       Washington, D.C. 20036-4505
                                              202-804-7000




                                        September 20, 2018
Mr. Noah Bookbinder
Executive Director
Citizens for Responsibility and Ethics in Washington
455 Massachusetts Avenue, N.W.
Washington, DC 20001

       Re: OSC File No. HA-18-4852

Dear Mr. Bookbinder:

      This letter is in response to a complaint you filed with the U.S. Office of Special Counsel
(OSC) alleging that Stephanie Grisham, Deputy Assistant to the President and Communications
Director for the Office of the First Lady, violated the Hatch Act. Specifically, it was alleged that
Ms. Grisham violated the Hatch Act when she used her official “@StephGrisham45” Twitter
account to post a message that included #MAGA and a photograph of a 2015 campaign rally.
For the reasons explained below, OSC has concluded that Ms. Grisham’s tweet violated the
Hatch Act. In response, we have issued her a warning letter.

      The Hatch Act restricts certain political activities of federal executive branch employees,
except for the President and the Vice President. 5 U.S.C. §§ 7321-7326. Accordingly, as
Deputy Assistant to the President and Communications Director for the Office of the First Lady,
Ms. Grisham is covered by the Hatch Act and prohibited from, among other things, using her
official authority or influence for the purpose of interfering with or affecting the result of an
election. Id. § 7323(a)(1). For example, under this provision, Ms. Grisham may not use her
official title while engaging in political activity or her official position to advance or oppose
candidates for partisan office. Political activity is defined as activity directed toward the success
or failure of a political party, partisan political group, or candidate for partisan political office.
5 C.F.R. § 734.101.

      We understand that Ms. Grisham uses the “@StephGrisham45” Twitter account in her
official capacity as Communications Director for the Office of the First Lady. At issue is a
message she tweeted from that account on July 11, 2018, which read: “Three years ago today I
listened to my gut & joined the Trump team in #PHX . . . & life has never been the same. So
proud to work for both @POTUS @realDonaldTrump & @FLOTUS                   #MAGA.” Included
with this message was a photograph from one of President Trump’s earlier campaign rallies.
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      Because Ms. Grisham uses the “@StephGrisham45” Twitter account for official purposes,
the Hatch Act prohibits her from using that account to engage in political activity. 1 Tweeting a
campaign slogan of a current candidate for partisan political office constitutes political activity
for purposes of the Hatch Act. Thus, because President Trump is a candidate for reelection, 2 Ms.
Grisham engaged in political activity when she tweeted #MAGA (i.e., Make America Great
Again) on July 11, 2018. Accordingly, OSC has concluded that Ms. Grisham violated the Hatch
Act when she tweeted this message from her official Twitter account.

       Once Ms. Grisham became aware that her tweet may have violated the Hatch Act, she
deleted the post. And OSC has found no evidence that she engaged in any additional prohibited
political activity via Twitter. Thus, although we have concluded that Ms. Grisham violated the
Hatch Act, we have decided not to pursue disciplinary action and are closing this file without
further action. Ms. Grisham has been advised that if in the future she engages in prohibited
political activity while employed in a position covered by the Hatch Act, we will consider such
activity to be a willful and knowing violation of the law, which could result in further action.

       If you have any questions, you may contact me at 202-804-7054.

                                             Sincerely,


                                             Erica S. Hamrick
                                             Deputy Chief
                                             Hatch Act Unit




1
  See OSC’s February 2018 “Hatch Act Guidance on Social Media,” pg. 9, available at:
https://osc.gov/Resources/HA%20Social%20Media%20FINAL%20r.pdf.
2
  See OSC’s March 5, 2018 “Updated Guidance Regarding the Hatch Act and President Trump Now That
He Is Officially a Candidate for Reelection,” available at:
https://osc.gov/Resources/Candidate%20Trump%20Hatch%20Act%20Guidance%203-5-2018.pdf.
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                Exhibit M
Trump Allies Target Journalists Over Coverage Deemed Hostile to White House - The Ne... Page 1 of 6
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                POLITICS




Trump Allies Target Journalists
Over Coverage Deemed Hostile
to White House
By Kenneth P. Vogel and Jeremy W. Peters

Aug. 25, 2019


WASHINGTON — A loose network of conservative operatives allied with the White House is pursuing what they say will be
an aggressive operation to discredit news organizations deemed hostile to President Trump by publicizing damaging
information about journalists.

It is the latest step in a long-running effort by Mr. Trump and his allies to undercut the influence of legitimate news reporting.
Four people familiar with the operation described how it works, asserting that it has compiled dossiers of potentially
embarrassing social media posts and other public statements by hundreds of people who work at some of the country’s most
prominent news organizations.

The group has already released information about journalists at CNN, The Washington Post and The New York Times —
three outlets that have aggressively investigated Mr. Trump — in response to reporting or commentary that the White
House’s allies consider unfair to Mr. Trump and his team or harmful to his re-election prospects.

Operatives have closely examined more than a decade’s worth of public posts and statements by journalists, the people
familiar with the operation said. Only a fraction of what the network claims to have uncovered has been made public, the
people said, with more to be disclosed as the 2020 election heats up. The research is said to extend to members of journalists’
families who are active in politics, as well as liberal activists and other political opponents of the president.

It is not possible to independently assess the claims about the quantity or potential significance of the material the pro-Trump
network has assembled. Some involved in the operation have histories of bluster and exaggeration. And those willing to
describe its techniques and goals may be trying to intimidate journalists or their employers.

But the material publicized so far, while in some cases stripped of context or presented in misleading ways, has proved
authentic, and much of it has been professionally harmful to its targets.

It is clear from the cases to date that among the central players in the operation is Arthur Schwartz, a combative 47-year-old
conservative consultant who is a friend and informal adviser to Donald Trump Jr., the president’s eldest son. Mr. Schwartz
has worked with some of the right’s most aggressive operatives, including the former Trump adviser Stephen K. Bannon.

“If the @nytimes thinks this settles the matter we can expose a few of their other bigots,” Mr. Schwartz tweeted on Thursday
in response to an apologetic tweet from a Times journalist whose anti-Semitic social media posts had just been revealed by
the operation. “Lots more where this came from.”




https://www.nytimes.com/2019/08/25/us/politics/trump-allies-news-media.html                                          8/26/2019
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            POLITICS




                             The operation is the latest step in a long-running effort by President Trump and his
                             allies to undercut the influence of legitimate news reporting.
                             Anna Moneymaker/The New York Times




The information unearthed by the operation has been commented on and spread by officials inside the Trump administration
and re-election campaign, as well as conservative activists and right-wing news outlets such as Breitbart News. In the case of
the Times editor, the news was first published by Breitbart, immediately amplified on Twitter by Donald Trump Jr. and,
among others, Katrina Pierson, a senior adviser to the Trump campaign, and quickly became the subject of a Breitbart
interview with Stephanie Grisham, the White House press secretary and communications director.

The White House press office said that neither the president nor anyone in the White House was involved in or aware of the
operation, and that neither the White House nor the Republican National Committee was involved in funding it.

The Trump campaign said it was unaware of, and not involved in, the effort, but suggested that it served a worthy purpose.
“We know nothing about this, but it’s clear that the media has a lot of work to do to clean up its own house,” said Tim
Murtaugh, the campaign’s communications director.

The campaign is consistent with Mr. Trump’s long-running effort to delegitimize critical reporting and brand the news media
as an “enemy of the people.” The president has relentlessly sought to diminish the credibility of news organizations and cast
them as politically motivated opponents.

Journalism, he said in a tweet last week, is “nothing more than an evil propaganda machine for the Democrat Party.”

The operation has compiled social media posts from Twitter, Facebook and Instagram, and stored images of the posts that
can be publicized even if the user deletes them, said the people familiar with the effort. One claimed that the operation had
unearthed potentially “fireable” information on “several hundred” people.

“I am sure there will be more scalps,” said Sam Nunberg, a former aide to Mr. Trump who is a friend of Mr. Schwartz.

Mr. Nunberg and others who are familiar with the campaign described it as meant to expose what they see as the hypocrisy
of mainstream news outlets that have reported on the president’s inflammatory language regarding race.




                                                                   Arthur Schwartz, a conservative
                                                                   consultant who is a friend and
                                                                   informal adviser to the president’s
                                                                   eldest son.
                                                                   Sylvain Gaboury/Patrick McMullan, via Getty
                                                                   Images




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“Two can play   at this game,” he said. “The media has long targeted Republicans with deep dives into their social media,
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looking to caricature all conservatives and Trump voters as racists.”

But using journalistic techniques to target journalists and news organizations as retribution for — or as a warning not to
pursue — coverage critical of the president is fundamentally different from the well-established role of the news media in
scrutinizing people in positions of power.

“If it’s clearly retaliatory, it’s clearly an attack, it’s clearly not journalism,” said Leonard Downie Jr., who was the executive
editor of The Post from 1991 to 2008. Tension between a president and the news media that covers him is nothing new, Mr.
Downie added. But an organized, wide-scale political effort to intentionally humiliate journalists and others who work for
media outlets is.

“It’s one thing for Spiro Agnew to call everyone in the press ʻnattering nabobs of negativism,’” he said, referring to the former
vice president’s famous critique of how journalists covered President Richard M. Nixon. “And another thing to investigate
individuals in order to embarrass them publicly and jeopardize their employment.”

A. G. Sulzberger, the publisher of The Times, said in a statement that such tactics were taking the president’s campaign
against a free press to a new level.

“They are seeking to harass and embarrass anyone affiliated with the leading news organizations that are asking tough
questions and bringing uncomfortable truths to light,” Mr. Sulzberger said. “The goal of this campaign is clearly to intimidate
journalists from doing their job, which includes serving as a check on power and exposing wrongdoing when it occurs. The
Times will not be intimidated or silenced.”

In a statement, a CNN spokesman said that when government officials, “and those working on their behalf, threaten and
retaliate against reporters as a means of suppression, it’s a clear abandonment of democracy for something very dangerous.”

The operation is targeting the news media by using one of the most effective weapons of political combat — deep and
laborious research into the public records of opponents to find contradictions, controversial opinions or toxic affiliations. The
liberal group Media Matters for America helped pioneer close scrutiny of public statements by conservative media
personalities.




                              Those familiar with the campaign described it as meant to expose what they see as the
                              hypocrisy of mainstream news outlets that have covered the president’s inflammatory
                              language regarding race. George Etheredge/The New York Times




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The conservative    operative James O’Keefe has twisted that concept in ways inconsistent with traditional journalistic ethics,
             POLITICS
using false identities, elaborate cover stories and undercover videos to entrap journalists and publicize embarrassing
statements, often in misleading ways, to undercut the credibility of what he considers news media biased in favor of liberals.

In the case of the pro-Trump network, research into journalists is being deployed for the political benefit of the White House.
It is targeting not only high-profile journalists who challenge the administration, but also anyone who works for any news
organization that members of the network see as hostile to Mr. Trump, no matter how tangential that job may be to the
coverage of his presidency. And it is being used explicitly as retribution for coverage.

Some reporters have been warned that they or their news organizations could be targets, creating the impression that the
campaign intended in part to deter them from aggressive coverage as well as to inflict punishment after an article has been
published.

Trained as a lawyer, Mr. Schwartz has endeared himself to members of the president’s family by becoming one of their most
aggressive defenders, known for badgering and threatening reporters and others he believes have wronged the Trumps.

He has publicly gone after Republicans he views as disloyal, including the former White House chief of staff Reince Priebus,
about whom he admitted spreading an unsubstantiated rumor. He has called himself a “troll on Twitter,” which is where he
has boasted of being aware of, or having access to, damaging information on dozens of journalists at CNN and The Times that
could be deployed if those outlets ran afoul of Mr. Trump or his allies.

The operation’s tactics were on display last week, seemingly in response to two pieces in The Times that angered Mr.
Trump’s allies. The paper’s editorial board published an editorial on Wednesday accusing Mr. Trump of fomenting anti-
Semitism, and the newsroom published a profile on Thursday morning of Ms. Grisham, the new White House press secretary,
which included unflattering details about her employment history.

One person involved in the effort said the pro-Trump forces, aware ahead of time about the coverage of Ms. Grisham, were
prepared to respond. Early Thursday morning, soon after the profile appeared online, Breitbart News published an article
that documented anti-Semitic and racist tweets written a decade ago by Tom Wright-Piersanti, who was in college at the time
and has since become an editor on the Times’ politics desk. The Times said it was reviewing the matter and considered the
posts “a clear violation of our standards.”

Mr. Schwartz tweeted a link to the Breitbart piece before 7 a.m., which Donald Trump Jr. retweeted to his 3.8 million
followers — the first of about two dozen times that the president’s son shared the article or its contents. Other prominent
Republicans, including Senator Ted Cruz of Texas, joined in highlighting the report.




                              Mr. Schwartz is a friend and informal adviser to Donald Trump Jr., the president’s
                              eldest son. Erin Schaff/The New York Times




https://www.nytimes.com/2019/08/25/us/politics/trump-allies-news-media.html                                         8/26/2019
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Breitbart’s article
            POLITICSquoted several people or groups with close ties to Mr. Schwartz, including Richard Grenell, Mr. Trump’s
ambassador to Germany, and the Zionist Organization of America. It was written by the site’s Washington political editor,
Matthew Boyle, whose relationship with Mr. Schwartz started when Mr. Bannon ran the website.

Mr. Boyle’s article included a reference to the Times profile of Ms. Grisham, which it characterized as “attacking White
House Press Secretary Stephanie Grisham.” Mr. Wright-Piersanti was uninvolved in the editing of the article about Ms.
Grisham.

The tweets revealed in the Breitbart article quickly spread to other conservative outlets favored by the president and his
allies, including the radio shows of Rush Limbaugh and Mark Levin.

Mr. Wright-Piersanti apologized on Twitter on Thursday morning and deleted offensive tweets. Mr. Schwartz then issued his
warning that he had further damaging information about Times employees.

Mr. Wright-Piersanti, 32, said the tweets, posted when he was a college student with a Twitter following consisting mostly of
personal acquaintances, were “my lame attempts at edgy humor to try to get a rise out of my friends.”

But he said “they’re not funny, they’re clearly offensive,” adding, “I feel deep shame for them, and I am truly, honestly sorry
that I wrote these.”

He said he had forgotten about the tweets as he started a career in journalism.

“For my generation, the generation that came of age in the internet, all the youthful mistakes that you made get preserved in
digital amber, and no matter how much you change and mature and grow up, it’s always out there, waiting to be discovered,”
Mr. Wright-Piersanti said.

Like Mr. Wright-Piersanti, other targets of the pro-Trump network have been young people who grew up with social media
and wrote the posts in question when they were in their teens or early 20s, in most cases before they became professional
journalists.




                             The photojournalist Mohammed Elshamy in 2014 in South Sudan. Tweets he wrote in
                             his teens became the basis for articles in conservative news outlets. Andrei Pungovschi



A week after a White House reporter for CNN sparred with Mr. Trump during a news conference, Mr. Schwartz highlighted a
tweet by the reporter from 2011, when the reporter was in college, that used an anti-gay slur. Other similar tweets quickly
surfaced, and the reporter apologized, though Mr. Schwartz has continued to antagonize the reporter on Twitter.

In recent months, Mr. Schwartz highlighted a nearly decade-old tweet in which a reporter for The Post had repeated in an




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ambiguous manner
          POLITICS a slur used by a politician.

In March, Mr. Schwartz tweeted a link to an article from Breitbart, written by Mr. Boyle, about a reporter from Business
Insider whose Instagram account included anti-Trump references and a photograph of the reporter demonstrating against
the president.

In July, around the time CNN published an article exposing old posts by a Trump appointee spreading suggestions that
Barack Obama was a Muslim whose loyalty to the United States was in question, Mr. Schwartz resurfaced anti-Semitic
tweets from 2011 by a CNN photo editor. Mr. Schwartz suggested that a CNN reporter who specializes in unearthing
problematic archival content should “look into the social media activities of your employees.”

The tweets became the basis for several articles in conservative news outlets and hundreds of tweets from conservatives
targeting the photo editor, Mohammed Elshamy, which did not stop even after he resigned under pressure from CNN and
apologized.

“It felt like a coordinated attack,” said Mr. Elshamy, who said he had received death threats. “It was overwhelming.”

Mr. Elshamy, who is now 25, said he posted the tweets when he was 15 and 16 years old, growing up in Egypt, when he was
still learning English and did not fully grasp the meaning of the words.

“I was repeating slogans heard on the streets during a highly emotional time in my nation’s history,” he said. “I believe that
my subsequent work and views over the years redeems for the mistakes I made as a kid.”

While he said he understands “the severity and harm of my comments,” he questioned the motivation of the campaign that
cost him his job. “It is a very dirty tactic that they are using to cause as much harm as they can to anyone who is affiliated
with these media outlets,” he said. “It actually feels like a competition and every termination or vilification is a point for
them.”

Mr. Bannon, at the time the head of Breitbart, oversaw the site’s efforts in 2015 to attack Megyn Kelly, then of Fox News,
after she called out Mr. Trump for tweets disparaging women as “fat pigs,” “dogs” and “slobs.” In an interview, he said the
work that Mr. Schwartz was undertaking should be seen as a sign that Mr. Trump’s supporters were committed to executing
a frontal assault on news media they considered adversarial.

“A culture war is a war,” he said. “There are casualties in war. And that’s what you’re seeing.”

A version of this article appears in print on Aug. 26, 2019, Section A, Page 1 of the New York edition with the headline: Trumpʼs Allies Scour Internet To Punish Press




https://www.nytimes.com/2019/08/25/us/politics/trump-allies-news-media.html                                                                                               8/26/2019
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                Exhibit N
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                Exhibit O
Trump denies mocking journalist who has disability, demands an apology - The Washingt... Page 1 of 3
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    The Washington Post

Politics

Trump denies mocking journalist who has disability, demands an apology

By Jose A. DelReal
November 26, 2015
A day after he was widely rebuked for mocking a reporter with a physical disability, business mogul and reality TV star Donald Trump on
Thursday denied that he had done so and accused the reporter of “using his disability to grandstand.”

Trump also demanded an apology from the New York Times, the reporter’s employer, which earlier in the week issued a statement
condemning Trump for ridiculing “the appearance of one of our reporters.”

The incident occurred Tuesday at a rally in South Carolina, as Trump was defending his recent claim that he had witnessed thousands of
Muslims cheering in New Jersey on Sept. 11, 2001, as the World Trade Center towers collapsed. On stage, Trump berated Times
investigative reporter Serge Kovaleski for his recent recollection of an article he wrote a few days after the attacks, which Trump has
been citing to defend his claim.




Trump appeared to mock Kovaleski’s physical condition; the reporter has arthrogryposis, which visibly limits flexibility in his arms.

“Now, the poor guy — you’ve got to see this guy, ‘Ah, I don’t know what I said! I don’t remember!’ ” Trump said as he jerked his arms in
front of his body.

Trump’s assertions about Muslims celebrating in 2001 have been fact-checked and discredited by law enforcement and government
officials who were in New Jersey in the days and weeks after the terrorist attacks.

Trump has defended his recollections by citing a 2001 article by Kovaleski, who worked for The Washington Post at the time and wrote
that “authorities detained and questioned a number of people who were allegedly seen celebrating the attacks and holding tailgate-style
parties on rooftops while they watched the devastation on the other side of the river.”




Those allegations were never corroborated but have persisted in online rumors in the 14 years since the attacks. In an interview on CNN
this week, Kovaleski said he did not recall “anyone saying there were thousands, or even hundreds, of people celebrating.”

That is the statement that apparently drew Trump’s ire on Tuesday.

“The sad part about it is, it didn’t in the slightest bit jar or surprise me that Donald Trump would do something this low-rent, given his
track record,” said Kovaleski, who frequently covered Trump while reporting for the New York Daily News between 1987 and 1993.

In a statement Thursday, Trump adamantly denied that his comments or gestures were meant to mock Kovaleski. He also denied
remembering Kovaleski at all — “despite having one of the all-time great memories.”

“Kovaleski must think a lot of himself if he thinks I remember him from decades ago — if I ever met him at all, which I doubt I did,”
Trump said. “He should stop using his disability to grandstand and get back to reporting for a paper that is rapidly going down the
tubes.”

Kovaleski said in an interview this week that he’s sure Trump remembers him — and his disability. Trump indicated as much himself in
the speech Tuesday, when he said, before he began an apparent impersonation with a series of jerking arm movements, that the article
had been “written by a nice reporter.”




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In his statement Thursday, Trump said: “I have no idea who this reporter, Serge Kovalski [sic] is, what he looks like or his level of
intelligence. I don’t know if he is J.J. Watt or Muhammad Ali in his prime — or somebody of less athletic or physical ability. Despite
having one of the all-time great memories I certainly do not remember him.”




Trump added that he thought Kovaleski’s recollections about his 2001 article “seemed like (again without knowing what he looks like) he
was groveling and searching for a way out from what he wrote many years before.”

In Kovaleski’s comments to CNN and other news organizations, the reporter pointed out that there were never any reports of thousands
or even hundreds of Muslims celebrating, as Trump has claimed to have witnessed. Kovaleski has not contradicted the 14-year-old
article.

Kovaleski’s friends and colleagues took to social media this week to excoriate Trump.

“The measure of men. Know this: Serge Kovaleski, aka @sergenyt, is a journalistic rock star and one great colleague,” Times reporter
Dan Barry wrote on Twitter.

“@sergenyt is one of the best reporters — and best people— I know. This is despicable,” ESPN reporter and author Don Van Natta Jr.
wrote.

Trump took specific aim at the Times in his statement Thursday.

“They should focus on the survival of their newspaper and not on dishonest and very bad reporting about me,” he said. “The New York
Times has become more and more irrelevant and rapidly becoming a total joke — sad!”

A Times representative declined Thursday to add to the paper’s earlier statement.




                                                               3680 Comments

Jose A. DelReal
Jose DelReal was a national correspondent covering America's rural-urban divide, the USDA and HUD. He left The Washington Post in June 2017. Follow 




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BRIAN KAREM,


                 Plaintiff,

       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States and in his individual
 capacity; and STEPHANIE GRISHAM, in her
 official capacity as White House Press Secretary and
 in her individual capacity,
                                                             Case No. 19-cv-2514 (KBJ)
                 Defendants.



                   DECLARATION OF ANNE CHAMPION
   IN SUPPORT OF PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING
                 ORDER AND PRELIMINARY INJUNCTION

        I, ANNE CHAMPION, hereby declare under penalty of perjury the following:

        1.      My name is Anne Champion. I am a partner with the law firm of Gibson, Dunn

& Crutcher LLP, a member of the bars of the State of New York and multiple federal courts. My

motion to appear pro hac vice for Brian Karem in this action is pending before this Court. I have

personal knowledge of the content of this declaration, and I could and would competently testify

to the truth of the matters stated herein.

        2.      On August 8, 2019, I along with my partner Thomas H. Dupree Jr., attended a

meeting at the White House regarding the “preliminary decision” to suspend Mr. Karem’s press

pass with Press Secretary Stephanie Grisham, Deputy White House Counsel Patrick Philbin, and

a colleague of Mr. Philbin’s. The description of our meeting reflected in Ms. Grisham’s “final

decision” contains many inaccuracies and omissions, some of which I will address here.


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       3.      During the meeting, I repeatedly asked Ms. Grisham and Mr. Philbin what

Mr. Karem’s procedural rights were. They refused to respond to those questions and in fact said

it would be “unproductive” to discuss that. I also asked what type of evidence would be helpful

to them that Mr. Karem might be able to provide. Mr. Philbin shrugged at that question and did

not identify anything specific that they wanted Mr. Karem to provide. I also asked for the

identity of attendees of the event, as we had been unable to identify more than a handful of them,

and they declined to provide that information. I also repeatedly asked that they provide

documents relating to the decision to suspend Mr. Karem’s press pass, including any documents

relied upon to make the decision, including witness statements, and any documents relating to

the procedures followed in reaching the decision. All of those requests were denied.

       4.      During the meeting, Ms. Grisham and Mr. Philbin referenced a statement they had

obtained from a Secret Service Officer present at the event, who had approached Mr. Karem

following the confrontation with Mr. Gorka, and whom they contended had asked Mr. Karem to

step back behind the rope line, which had fallen. Mr. Philbin was referencing a document that he

had in front of him during this description, apparently a copy of the Secret Service Officer’s

statement. Mr. Dupree asked, “and did the Secret Service Officer say that he obeyed that

instruction?” To which Mr. Philbin responded, “Yes,” again referencing the document in front

of him. Ms. Grisham and Mr. Philbin refused to provide a copy of the Secret Service Officer’s

statement when specifically asked. They also refused to identify the Secret Service Officer by

name when asked.

       5.      Contrary to the assertion in their brief, at no time during this meeting did I or

Mr. Dupree “acknowledge[]” that the White House had a compelling interest in ensuring

“decorum” among the press corps. Opp. at 35.



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I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 26th day of August 2019 at Saranac Lake, New York.




                                              Anne Champion




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